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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,             )
                                           )
 9                   Plaintiff,            )
                                           )
10         v.                              )                        2:06-CR-210-LDG (LRL)
                                           )
11   SHARON SIMON, SHANNON SIMON, CHAD)
     PRICE, CAROLYN RUSSELL, NATHAN)
12   RIVERTO, JOHNNY MIZE, JAMES SILVESTRI,)
     MATT WEST, CHRISTIE WEST, ED MIZE,)
13   DAVID KALLAO, JASON ZIGA, JUSTIN)
     SAWYER, JULIE JURKOFSKY, SHERRIE)
14   SHUTT, TOMMY MUCKLOW, DANE KEISER,)
     ROBERT YOUNG, JOSEPH PLEICHNER,)
15   BRENDA O’SULLIVAN, MICHAEL PUGLIESE,)
     RONALD TAYLOR, BEVERLY FREDACK, and)
16   RONALD BUCCANERO,                     )
                                           )
17                   Defendants.           )

18                                  FINAL ORDER OF FORFEITURE

19           On December 18, 2006, the United States District Court for the District of Nevada entered

20   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

21   States Code, Sections 982(a)(1) and (a)(2)(B), based upon the plea of guilty by defendant BRENDA

22   O’SULLIVAN to a criminal offense, forfeiting specific property alleged in the Indictment and shown

23   by the United States to have a requisite nexus to the offense to which defendant BRENDA

24   O’SULLIVAN pled guilty. #331.

25           On May 1, 2007, the United States District Court for the District of Nevada entered a

26   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States
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 1   Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States

 2   Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 3   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 4   defendant JASON ZIGA to the criminal offenses, forfeiting specific property alleged in the Indictment

 5   and shown by the United States to have a requisite nexus to the offenses to which defendant JASON

 6   ZIGA pled guilty. #413-1.

 7           On July 12, 2007, the United States District Court for the District of Nevada entered a

 8   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

 9   Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States

10   Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

11   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

12   defendant DAVID KALLAO to the criminal offenses, forfeiting specific property alleged in the

13   Indictment and shown by the United States to have a requisite nexus to the offenses to which

14   defendant DAVID KALLAO pled guilty. #442-3.

15           On August 3, 2007, the United States District Court for the District of Nevada entered a

16   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

17   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

18   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

19   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

20   defendant ROBERT YOUNG to a criminal offense, forfeiting specific property alleged in the

21   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

22   ROBERT YOUNG pled guilty. #459.

23           On September 25, 2007, the United States District Court for the District of Nevada entered

24   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

25   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

26   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section


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 1   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 2   defendant JOSEPH PLEICHNER to a criminal offense, forfeiting specific property alleged in the

 3   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

 4   JOSEPH PLEICHNER pled guilty. #484.

 5           On October 5, 2007, the United States District Court for the District of Nevada entered a

 6   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

 7   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

 8   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 9   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

10   defendant RONALD TAYLOR to a criminal offense, forfeiting specific property alleged in the

11   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

12   RONALD TAYLOR pled guilty. #500.

13           On October 10, 2007, the United States District Court for the District of Nevada entered a

14   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

15   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

16   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

17   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

18   defendant CHRISTIE WEST to the criminal offenses, forfeiting specific property alleged in the

19   Indictment and shown by the United States to have a requisite nexus to the offenses to which

20   defendant CHRISTIE WEST pled guilty. #506.

21           On November 13, 2007, the United States District Court for the District of Nevada entered

22   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

23   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

24   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

25   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

26   defendant BEVERLY FREDACK to a criminal offense, forfeiting specific property alleged in the


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 1   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

 2   BEVERLY FREDACK pled guilty. #531.

 3           On November 20, 2007, the United States District Court for the District of Nevada entered

 4   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

 5   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

 6   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 7   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 8   defendant MICHAEL PUGLIESE to the criminal offenses, forfeiting specific property alleged in the

 9   Indictment and shown by the United States to have a requisite nexus to the offenses to which

10   defendant MICHAEL PUGLIESE pled guilty. #546.

11           On November 28, 2007, the United States District Court for the District of Nevada entered

12   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

13   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

14   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

15   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

16   defendant SHERRIE SHUTT to the criminal offenses, forfeiting specific property alleged in the

17   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

18   SHERRIE SHUTT pled guilty. #553.

19           On November 28, 2007, the United States District Court for the District of Nevada entered

20   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

21   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

22   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

23   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

24   defendant NATHAN RIVERO to the criminal offenses, forfeiting specific property alleged in the

25   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

26   NATHAN RIVERO pled guilty. #556.


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 1           On November 28, 2007, the United States District Court for the District of Nevada entered

 2   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

 3   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

 4   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 5   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 6   defendant RONALD BUCCANERO to a criminal offense, forfeiting specific property alleged in the

 7   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

 8   RONALD BUCCANERO pled guilty. #558.

 9           On November 30, 2007, the United States District Court for the District of Nevada entered

10   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

11   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

12   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

13   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

14   defendant MATT WEST to the criminal offenses, forfeiting specific property alleged in the

15   Indictment and shown by the United States to have a requisite nexus to the offenses to which

16   defendant MATT WEST pled guilty. #563.

17           On November 30, 2007, the United States District Court for the District of Nevada entered

18   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

19   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

20   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

21   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

22   defendant CHAD PRICE to the criminal offenses, forfeiting specific property alleged in the Indictment

23   and shown by the United States to have a requisite nexus to the offenses to which defendant CHAD

24   PRICE pled guilty. #565.

25           On November 30, 2007, the United States District Court for the District of Nevada entered

26   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United


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 1   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

 2   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 3   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 4   defendant CAROLYN RUSSELL to a criminal offense, forfeiting specific property alleged in the

 5   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

 6   CAROLYN RUSSELL pled guilty. #569.

 7           On December 12, 2007, the United States District Court for the District of Nevada entered

 8   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

 9   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

10   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

11   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

12   defendant JULIE JURKOFSKY to the criminal offenses, forfeiting specific property alleged in the

13   Indictment and shown by the United States to have a requisite nexus to the offenses to which

14   defendant JULIE JURKOFSKY pled guilty. #574.

15           On December 26, 2007, the United States District Court for the District of Nevada entered

16   a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

17   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

18   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

19   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

20   defendant SHARON SIMON to the criminal offenses, forfeiting specific property alleged in the

21   Indictment and shown by the United States to have a requisite nexus to the offenses to which

22   defendant SHARON SIMON pled guilty. #594.

23           On January 16, 2008, the United States District Court for the District of Nevada entered a

24   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

25   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

26   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section


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 1   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

 2   defendant JUSTIN SAWYER to the criminal offenses, forfeiting specific property alleged in the

 3   Indictment and shown by the United States to have a requisite nexus to the offenses to which

 4   defendant JUSTIN SAWYER pled guilty. #604.

 5           On February 13, 2008, the United States District Court for the District of Nevada entered a

 6   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

 7   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

 8   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

 9   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

10   defendant JAMES SILVESTRI to a criminal offense, forfeiting specific property alleged in the

11   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

12   JAMES SILVESTRI pled guilty. #638.

13           On February 13, 2008, the United States District Court for the District of Nevada entered a

14   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

15   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

16   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

17   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

18   defendant DANE KEISER to the criminal offenses, forfeiting specific property alleged in the

19   Indictment and shown by the United States to have a requisite nexus to the offenses to which

20   defendant DANE KEISER pled guilty. #640.

21           On February 13, 2008, the United States District Court for the District of Nevada entered a

22   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

23   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

24   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

25   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

26   defendant TOMMY MUCKLOW to the criminal offenses, forfeiting specific property alleged in the


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 1   Indictment and shown by the United States to have a requisite nexus to the offenses to which

 2   defendant TOMMY MUCKLOW pled guilty. #642.

 3           On February 14, 2008 and February 22, 2008, the United States District Court for the District

 4   of Nevada entered a Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2);

 5   Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c);

 6   Title 18, United States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States

 7   Code, Section 1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of

 8   guilty by defendant ED MIZE to the criminal offenses, forfeiting specific property alleged in the

 9   Indictment and shown by the United States to have a requisite nexus to the offenses to which

10   defendant ED MIZE pled guilty. #644, #654.

11           On February 22, 2008, the United States District Court for the District of Nevada entered a

12   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

13   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

14   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

15   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

16   defendant SHANNON SIMON to a criminal offense, forfeiting specific property alleged in the

17   Indictment and shown by the United States to have a requisite nexus to the offense to which defendant

18   SHANNON SIMON pled guilty. #653.

19           On June 10, 2008, the United States District Court for the District of Nevada entered a

20   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

21   States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United

22   States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title 18, United States Code, Section

23   1028(b)(5); and Title 21, United States Code, Section 853(p), based upon the plea of guilty by

24   defendant JOHNNY MIZE to the criminal offenses, forfeiting specific property alleged in the

25   Indictment and shown by the United States to have a requisite nexus to the offenses to which

26   defendant JOHNNY MIZE pled guilty. #761.


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 1            On July 7, 2008 the Amended Preliminary Order of Forfeiture was entered as to all

 2   defendants. #794.

 3            On January 8, 2009 the Second Amended Preliminary Order of Forfeiture was entered as to

 4   all defendants. #967.

 5            This Court finds the United States of America published the notice of the forfeiture in

 6   accordance with the law on April 27, 2009, May 4, 2009, and May 11, 2009, in the Las Vegas Review

 7   Journal/Sun for local distribution; and on July 9, 2009, July 16, 2009, and July 23, 2009, in the Wall

 8   Street Journal for National distribution, further notifying all known third parties by personal service

 9   or by regular mail and certified mail return receipt requested, of their right to petition the Court.

10   #1036.

11            The United States served all known third parties petitioners by personal service or by regular

12   mail and certified mail return receipt requested. In addition, the United States also served the

13   following:

14   BUSINESSES:

15   Albertsons Incorporated:

16            On July 14, 2008, CSC Services of Nevada, Inc., Registered Agent, on behalf of Albertsons

17   Incorporated was served by regular mail and by certified return receipt mail with copies of the

18   Amended Preliminary Order of Forfeiture and the Notice. #950, p. 3-5, 70-188.

19            On July 15, 2008, Larry Johnston, CEO, on behalf of Albertsons Incorporated was served by

20   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

21   Forfeiture and the Notice. #950, p. 6-8, 70-188.

22            On February 2, 2009, Larry Johnson, CEO, on behalf of Albertsons Incorporated was served

23   by regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

24   Order of Forfeiture and the Notice. #997, p. 3-4, 57-175.

25   ...

26   ...


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 1           On February 2, 2009, CSC Services of Nevada, Inc., Registered Agent, on behalf of

 2   Albertsons Incorporated was served by regular mail and by certified return receipt mail with copies

 3   of the Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 5-6, 57-175.

 4   Best Buy Company Incorporated:

 5           On July 17, 2008, Brad Anderson, CEO, on behalf of Best Buy Company, Inc. was served by

 6   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

 7   Forfeiture and the Notice. #950, p. 9-11, 70-188.

 8           On July 17, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 9   Best Buy Company, Inc. was served by regular mail and by certified return receipt mail with copies

10   of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 12-14, 70-188.

11           On July 14, 2008, CT Corporation System Inc., Registered Agent, on behalf of Best Buy

12   Company, Inc. was served by regular mail and by certified return receipt mail with copies of the

13   Amended Preliminary Order of Forfeiture and the Notice. #950, p. 15-17, 70-188.

14           On February 2, 2009, Brad Anderson, CEO, on behalf of Best Buy Company, Inc. was served

15   by regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

16   Order of Forfeiture and the Notice. #997, p. 7-8, 57-175.

17           On February 2, 2009, CT Corporation System Inc., Registered Agent, on behalf of Best Buy

18   Company, Inc. was served by regular mail and by certified return receipt mail with copies of the

19   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 9-10, 57-175.

20           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

21   of Best Buy Company, Inc. was served by regular mail and by certified return receipt mail with copies

22   of the Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 11-12, 57-175.

23   Capitol One Auto Finance:

24           On July 21, 2008, Corporation Service Company, Registered Agent, on behalf of Capitol One

25   Auto Finance was served by regular mail and by certified return receipt mail with copies of the

26   Amended Preliminary Order of Forfeiture and the Notice. #950, p. 18-20, 70-188.


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 1             On July 21, 2008, Richard D. Fairbank, CEO on behalf of Capitol One Auto Finance was

 2   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

 3   Order of Forfeiture and the Notice. #950, p. 21-23, 70-188.

 4             On July 21, 2008, David R. Lawson, President, on behalf of Capitol One Auto Finance, Inc.

 5   was served by regular mail and by certified return receipt mail with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #950, p. 24-26, 70-188.

 7             On February 2, 2009, David R. Lawson, President, on behalf of Capital One Auto Finance,

 8   Inc. was served by regular mail and by certified return receipt mail with copies of the Second

 9   Amended Preliminary Order of Forfeiture and the Notice. #997, p. 13-14, 57-175.

10             On February 2, 2009, Richard D. Fairbank, CEO, on behalf of Capital One Auto Finance was

11   served by regular mail and by certified return receipt mail with copies of the Second Amended

12   Preliminary Order of Forfeiture and the Notice. #997, p. 15-16, 57-175.

13   Circuit City Stores Incorporated:

14             On July 15, 2008, The Prentice-Hall Corporation System, Nevada, Inc., Registered Agent, on

15   behalf of Circuit City Stores, Inc. was served by regular mail and by certified return receipt mail with

16   copies of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 33-35, 70-188.

17             On July 15, 2008, Philip J. Schoonover, CEO, on behalf of Circuit City Stores Inc. was served

18   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

19   Forfeiture and the Notice. #950, p. 36-38, 70-188.

20             On February 2, 2009, Philip J. Schoonover, CEO, on behalf of Circuit City Stores Inc. was

21   served by regular mail and by certified return receipt mail with copies of the Second Amended

22   Preliminary Order of Forfeiture and the Notice. #997, p. 17-18, 57-175.

23             On February 2, 2009, The Prentice-Hall Corporation System, Nevada Inc., Registered Agent,

24   on behalf of Circuit City Stores Inc. was served by regular mail and by certified return receipt mail

25   with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 19-20,

26   57-175.


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 1   Citigroup Incorporated:

 2           On August 6, 2008, CT Corporation System, Resident Agent, on behalf of Citigroup, Inc.

 3   D/B/A Citibank was served by regular mail and by certified return receipt mail with copies of the

 4   Amended Preliminary Order of Forfeiture and the Notice. #950, p. 27-29, 70-188.

 5           On September 10, 2008, Vikram Pandit, CEO, on behalf of Citigroup, D/B/A Citibank, the

 6   Citi Private Bank was served by regular mail and by certified return receipt mail with copies of the

 7   Amended Preliminary Order of Forfeiture and the Notice. #950, p. 30-32, 70-188.

 8           On July 21, 2008, CT Corporation System, Registered Agent, on behalf of the Citi Private

 9   Bank was served by regular mail and by certified return receipt mail with copies of the Amended

10   Preliminary Order of Forfeiture and the Notice. #950, p. 40-42, 70-188.

11           On February 2, 2009, Vikram Pandit, CEO, on behalf of Citigroup, D/B/A Citi Bank, The Citi

12   Private Bank was served by regular mail and by certified return receipt mail with copies of the Second

13   Amended Preliminary Order of Forfeiture and the Notice. #997, p. 21-22, 26-30, 57-175.

14           On February 2, 2009, CT Corporation System, Resident Agent, on behalf of Citigroup, Inc.,

15   D/B/A Citibank was served by regular mail and by certified return receipt mail with copies of the

16   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 23-25, 57-175.

17   City of Las Vegas:

18           On July 30, 2008, City of Las Vegas C/O Oscar B. Goodman, Mayor was personally served

19   with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 39, 70-188.

20           On July 30, 2008, Clark County, Nevada, C/O Rory Reid, County Commission Chairman was

21   personally served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950,

22   p. 43, 70-188.

23           On July 30, 2008, Clark County Assessor, C/O Clark County Clerk was personally served

24   with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 44, 70-188.

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 1           On July 30, 2008, Clark County Board of Commissioners, C/O Clark County Clerk was

 2   personally served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950,

 3   p. 45, 70-188.

 4           On July 30, 2008, Clark County Recorder Debbie Conway, C/O Clark County Recorder’s

 5   Office was personally served with copies of the Amended Preliminary Order of Forfeiture and the

 6   Notice. #950, p. 46, 70-188.

 7           On July 30, 2008, Clark County Treasurer, C/O Clark County Clerk was personally served

 8   with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 47, 70-188.

 9           On July 30, 2008, Clark County Water Reclamation District, C/O Clark County Clerk was

10   personally served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #950,

11   p. 48, 70-188.

12   Cost Plus Incorporated:

13           On July 18, 2008, Barry Feld, CEO, on behalf of Cost Plus Inc. was served by regular mail

14   and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and

15   the Notice. #950, p. 49-51, 70-188.

16           On July 14, 2008, Corporation Trust Company of Nevada, on behalf of Cost Plus Inc. was

17   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

18   Order of Forfeiture and the Notice. #950, p. 52-54, 70-188.

19           On July 14, 2008, CT Corporation System, Registered Agent, on behalf of Cost Plus Inc. was

20   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

21   Order of Forfeiture and the Notice. #950, p. 55-57, 70-188.

22           On February 2, 2009, Barry Feld, CEO, on behalf of Cost Plus Inc. was served by regular mail

23   and by certified return receipt mail with copies of the Second Amended Preliminary Order of

24   Forfeiture and the Notice. #997, p. 31-32, 57-175.

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 1           On February 2, 2009, CT Corporation System, Registered Agent, on behalf of Cost Plus Inc.

 2   was served by regular mail and by certified return receipt mail with copies of the Second Amended

 3   Preliminary Order of Forfeiture and the Notice. #997, p. 33-34, 57-175.

 4           On February 2, 2009, Corporation Trust Company of Nevada, on behalf of Cost Plus Inc. was

 5   served by regular mail and by certified return receipt mail with copies of the Second Amended

 6   Preliminary Order of Forfeiture and the Notice. #997, p. 35-36, 57-175.

 7   Countrywide Home Loans:

 8           On July 21, 2008, Angelo Mozilo, CEO, on behalf of Countrywide Home Loans was served

 9   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

10   Forfeiture and the Notice. #950, p. 58-60, 70-188.

11           On July 21, 2008, Angelo Mozilo, CEO, on behalf of Countrywide Home Loans was served

12   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

13   Forfeiture and the Notice. #950, p. 61-63, 70-188.

14           On July 21, 2008, The Prentice-Hall Corporation System, Registered Agent, on behalf of

15   Countrywide Home Loans was served by regular mail and by certified return receipt mail with copies

16   of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 64-66, 70-188.

17           On July 21, 2008, The Prentice-Hall Corporation System, Registered Agent, on behalf of

18   Countrywide Home Loans was served by regular mail and by certified return receipt mail with copies

19   of the Amended Preliminary Order of Forfeiture and the Notice. #950, p. 67-188.

20   Daimler Chrysler Financial:

21           On July 21, 2008, CT Corporation, Registered Agent, on behalf of Daimler Chrysler Service

22   was served by regular mail and by certified return receipt mail with copies of the Amended

23   Preliminary Order of Forfeiture and the Notice. #951, p. 3-5, 77-195.

24           On July 21, 2008, Klaus Entenmann, CEO, on behalf of Daimler Chrysler Service was served

25   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

26   Forfeiture and the Notice. #951, p. 6-8, 77-195.


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 1           On July 21, 2008, Secretary of State, on behalf of Daimler Chrysler Services North America

 2   LLC was served by regular mail and by certified return receipt mail with copies of the Amended

 3   Preliminary Order of Forfeiture and the Notice. #951, p. 9-11, 77-195.

 4           On February 2, 2009, Klaus Entenmann, CEO, on behalf of Daimler Chrysler Services was

 5   served by regular mail and by certified return receipt mail with copies of the Second Amended

 6   Preliminary Order of Forfeiture and the Notice. #997, p. 37-38, 57-175.

 7   Dillards Incorporated:

 8           On July 14, 2008, Corporation Trust Company of Nevada, Registered Agent, on Behalf of

 9   Dillards Inc. was served by regular mail and by certified return receipt mail with copies of the

10   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 12-14, 77-195.

11           On July 14, 2008, William Dillard II, CEO, on behalf of Dillards Inc. was served by regular

12   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

13   and the Notice. #951, p. 15-17, 77-195.

14           On February 2, 2009, William Dillard II, CEO, on behalf of Dillards Inc. was served by

15   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

16   Order of Forfeiture and the Notice. #997, p. 39-41, 57-175.

17           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

18   of Dillards Inc. was served by regular mail and by certified return receipt mail with copies of the

19   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 42-43, 57-175.

20   Disney Store Incorporated:

21           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

22   Disney Store Inc. was served by regular mail and by certified return receipt mail with copies of the

23   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 18-20, 77-195.

24           On February 2, 2009, Thomas A. Heyman, on behalf of Disney Store Inc. was served by

25   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

26   Order of Forfeiture and the Notice. #997, p. 44-45, 57-175.


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 1           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

 2   of Disney Store Inc. was served by regular mail and by certified return receipt mail with copies of the

 3   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 46-47, 57-175.

 4   Gamestop Corporation:

 5           On July 17, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 6   Gamestop Corp. was served by regular mail and by certified return receipt mail with copies of the

 7   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 21-23, 77-195.

 8           On July 17, 2008, Steven R. Morgan, CEO, on behalf of Gamestop Corp. was served by

 9   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

10   Forfeiture and the Notice. #951, p. 24-26, 77-195.

11           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

12   of Gamestop Corp. was served by regular mail and by certified return receipt mail with copies of the

13   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 55-175.

14   Hollywood Entertainment Corporation:

15           On July 17, 2008, Mary J. Simpson, Registered Agent, on behalf of Hollywood Entertainment

16   Corporation D/B/A Game Crazy was served by regular mail and by certified return receipt mail with

17   copies of the Amended Preliminary Order of Forfeiture and the Notice. #951, p. 27-29, 77-195.

18           On July 21, 2008, Joe Malugen, CEO, on behalf of Hollywood Entertainment Corporation

19   D/B/A Game Crazy was served by regular mail and by certified return receipt mail with copies of the

20   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 30-32, 77-195.

21           On July 17, 2008, National Registered Agents Inc. of Nevada, Registered Agent, on behalf

22   of Hollywood Entertainment Corporation D/B/A Game Crazy was served by regular mail and by

23   certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and the

24   Notice. #951, p. 33-35, 77-195.

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 1           On February 2, 2009, Joe Malugen, CEO, on behalf of Hollywood Entertainment Corporation

 2   D/B/A Game Crazy was served by regular mail and by certified return receipt mail with copies of the

 3   Second Amended Preliminary Order of Forfeiture and the Notice. #997, p. 48-49, 57-175.

 4           On February 2, 2009, Mary J. Simpson, Registered Agent, on behalf of Hollywood

 5   Entertainment Corporation D/B/A Game Crazy was served by regular mail and by certified return

 6   receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

 7   #997, p. 50-52, 57-175.

 8           On February 2, 2009, National Registered Agents Inc. of Nevada, Registered Agent, on behalf

 9   of Hollywood Entertainment Corporation D/B/A Game Crazy was served by regular mail and by

10   certified return receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and

11   the Notice. #997, p. 53-54, 57-175.

12   Home Depot Incorporated:

13           On July 21, 2008, Frank Blake, CEO, on behalf of The Home Depot Inc. was served by

14   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

15   Forfeiture and the Notice. #951, p. 36-41, 77-195.

16           On July 21, 2008, Brown Jet Center, Inc., Resident Agent, on behalf of The Home Depot Inc.

17   was served by regular mail and by certified return receipt mail with copies of the Amended

18   Preliminary Order of Forfeiture and the Notice. #951, p. 42-44, 77-195.

19           On July 21, 2008, CSC Services of Nevada, Inc., Resident Agent, on behalf of The Home

20   Depot Inc. was served by regular mail and by certified return receipt mail with copies of the Amended

21   Preliminary Order of Forfeiture and the Notice. #951, p. 45-47, 77-195.

22           On February 2, 2009, CSC Services of Nevada, Inc., Resident Agent, on behalf of The Home

23   Depot Inc. was served by regular mail and by certified return receipt mail with copies of the Second

24   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 3-4, 69-187.

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 1           On February 2, 2009, Brown Jet Center, Inc., Resident Agent, on behalf of The Home Depot

 2   Inc. was served by regular mail and by certified return receipt mail with copies of the Second

 3   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 5-6, 69-187.

 4   Homegoods:

 5           On February 2, 2009, Jerry Rossi, CEO, on behalf of Homegoods was served by regular mail

 6   and by certified return receipt mail with copies of the Second Amended Preliminary Order of

 7   Forfeiture and the Notice. #998, p. 7-8, 69-187.

 8           On February 2, 2009, Corporation Trust Company, Resident Agent, on behalf of Homegoods

 9   was served by regular mail and by certified return receipt mail with copies of the Second Amended

10   Preliminary Order of Forfeiture and the Notice. #998, p. 9-10, 69-187.

11   Kirklands Incorporated:

12           On July 17, 2008, Robert Alderson, CEO, on behalf of Kirklands Inc., was served by regular

13   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

14   and the Notice. #951, p. 48-50, 77-195.

15           On July 17, 2008, CSC Services of Nevada, Inc., Resident Agent, on behalf of Kirklands Inc.

16   was served by regular mail and by certified return receipt mail with copies of the Amended

17   Preliminary Order of Forfeiture and the Notice. #951, p. 51-53, 77-195.

18           On July 17, 2008, Lowell E. Pugh II, Resident Agent, on behalf of Kirklands Inc. was served

19   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

20   Forfeiture and the Notice. #951, p. 54-56, 77-195.

21           On February 2, 2009, Robert Alderson, CEO, on behalf of Kirklands Inc. was served by

22   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

23   Order of Forfeiture and the Notice. #998, p. 11-12, 69-187.

24           On February 2, 2009, CSC Services of Nevada, Inc., Resident Agent, on behalf of Kirklands

25   Inc. was served by regular mail and by certified return receipt mail with copies of the Second

26   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 13-14, 69-187.


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 1           On February 2, 2009, Lowell E. Pugh II, Resident Agent, on behalf of Kirklands Inc. was

 2   served by regular mail and by certified return receipt mail with copies of the Second Amended

 3   Preliminary Order of Forfeiture and the Notice. #998, p. 15-16, 69-187.

 4   Kmart Corporation:

 5           On July 17, 2008, Aylwin Lewis, CEO, on behalf of Kmart Corp. was served by regular mail

 6   and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and

 7   the Notice. #951, p. 57-59, 77-195.

 8           On July 17, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 9   Kmart Corp. was served by regular mail and by certified return receipt mail with copies of the

10   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 60-62, 77-195.

11           On July 17, 2008, CT Corporation System, Registered Agent, on behalf of Kmart Corp. was

12   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

13   Order of Forfeiture and the Notice. #951, p. 63-68, 77-195.

14           On February 2, 2009, Aylwin Lewis, CEO, on behalf of Kmart Corp. was served by regular

15   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

16   Forfeiture and the Notice. #998, p. 17-18, 69-187.

17           On February 2, 2009, Corporation Trust Company of Nevada, Resident Agent, on behalf of

18   Kmart Corp. was served by regular mail and by certified return receipt mail with copies of the Second

19   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 19-20, 69-187.

20           On February 2, 2009, CT Corporation System, Registered Agent, on behalf of Kmart Corp.

21   was served by regular mail and by certified return receipt mail with copies of the Second Amended

22   Preliminary Order of Forfeiture and the Notice. #998, p. 21-23, 69-187.

23   Las Vegas Valley Water District:

24           On August 1, 2008, Las Vegas Valley Water District, C/O Chuck Hauser, General Counsel,

25   was personally served with copies of the Amended Preliminary Order of Forfeiture and the Notice.

26   #951, p. 69, 77-195.


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 1           On August 1, 2008, Las Vegas Valley Water District, C/O Pat Mulroy, General Manager, was

 2   personally served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #951,

 3   p. 70, 77-195.

 4   Lowe’s Companies Incorporated:

 5           On July 15, 2008, Corporation Service Company, Resident Agent, on behalf of Lowe’s

 6   Companies Inc. was served by regular mail and by certified return receipt mail with copies of the

 7   Amended Preliminary Order of Forfeiture and the Notice. #951, p. 71-73, 77-195.

 8           On July 21, 2008, Robert A. Niblock, CEO, on behalf of Lowe’s Companies Inc. was served

 9   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

10   Forfeiture and the Notice. #951, p. 74-195.

11           On February 2, 2009, Robert A. Niblock, CEO, on behalf of Lowe’s Companies Inc. was

12   served by regular mail and by certified return receipt mail with copies of the Second Amended

13   Preliminary Order of Forfeiture and the Notice. #998, p. 24-25, 69-187.

14           On February 2, 2009, Corporation Service Company, Resident Agent, on behalf of Lowe’s

15   Companies Inc. was served by regular mail and by certified return receipt mail with copies of the

16   Second Amended Preliminary Order of Forfeiture and the Notice. #998, p. 26-27, 69-187.

17   Meister Park North Homeowners Association:

18           On July 31, 2008, Carol Healey, President/Director, on behalf of Meister Park North

19   Homeowners Association was personally served with copies of the Amended Preliminary Order of

20   Forfeiture and the Notice. #952, p. 3, 76-194.

21           On July 31, 2008, Patricia Taylor-McLooe, Resident Agent, on behalf of Meister Park North

22   Homeowners Association was personally served with copies of the Amended Preliminary Order of

23   Forfeiture and the Notice. #952, p. 4, 76-194.

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 1   Mortgage Electronic Registration Systems, Inc:

 2           On July 21, 2008, Mortgage Electronic Registration Systems, Inc., on behalf of MIN:

 3   100015700065041960 was served by regular and by certified return receipt mail with copies of the

 4   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 5-7, 76-194.

 5           On July 21, 2008, Mortgage Electronic Registration Systems, Inc., on behalf of MIN:

 6   100015700065041960 was served by regular mail and by certified return receipt mail with copies of

 7   the Amended Preliminary Order of Forfeiture and the Notice. #952, p. 8-10, 76-194.

 8   Nevada Federal Credit Union:

 9           On July 30, 2008, Brad Beal, CEO, on behalf of Nevada Federal Credit Union, was personally

10   served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #952, p. 11, 76-

11   194.

12           On February 5, 2009, Brad Beal, CEO, on behalf of Nevada Federal Credit Union was

13   personally served with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

14   #998, p. 28, 69-187.

15           On February 5, 2009, Gary Compton, on behalf of Nevada Federal Credit Union was

16   personally served with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

17   #998, p. 29, 69-187.

18   Office Depot, Incorporated:

19           On August 1, 2008, Corporate Creations Network Inc., Resident Agent, on behalf of Office

20   Depot Inc. was personally served with copies of the Amended Preliminary Order of Forfeiture and the

21   Notice. #952, p. 12, 76-194.

22           On July 17, 2008, Steve Odland, CEO, on behalf of Office Depot Inc. was served by regular

23   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

24   and the Notice. #952, p. 13-15, 76-194.

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 1             On January 16, 2009, Corporate Creations Network Inc., Resident Agent, on behalf of Office

 2   Depot Inc. was personally served with copies of the Second Amended Preliminary Order of Forfeiture

 3   and the Notice. #998, p. 30, 69-187.

 4   Office Max Incorporated:

 5             On July 17, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 6   Office Max Inc. was served by regular mail and by certified return receipt mail with copies of the

 7   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 16-18, 76-194.

 8             On September 10, 2008, Milliken Quits, CEO, on behalf of Office Max Inc. was served by

 9   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

10   Forfeiture and the Notice. #952, p. 19-21, 76-194.

11             On February 2, 2009, Milliken Quits, CEO, on behalf of Office Max Inc. was served by

12   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

13   Order of Forfeiture and the Notice. #998, p. 31-32, 69-187.

14             On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

15   of Office Max Inc. was served by regular mail and by certified return receipt mail with copies of the

16   Second Amended Preliminary Order of Forfeiture and the Notice. #998, p. 33-34, 69-187.

17   Pet Central Incorporated:

18             On August 19, 2008, Cheryl Ghirlando, CEO, on behalf of Pet Central Inc. was personally

19   served with copies of the Amended Preliminary Order of Forfeiture and the Notice. #952, p. 22, 76-

20   194.

21             On August 20, 2008, Leda Maria Rasmussen, Resident Agent, on behalf of Pet Central Inc.

22   was personally served with the Amended Preliminary Order of Forfeiture and the Notice. #952, p. 23,

23   76-194.

24             On February 5, 2009, Cheryl Ghirlando, CEO, on behalf of Pet Central Inc. was personally

25   served with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #998, p.

26   35, 69-187.


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 1           Secret Service attempted to serve Leda Maria Rasmussen, Resident Agent, on behalf of Pet

 2   Central Inc. with the Second Amended Preliminary Order of Forfeiture and the Notice but were unable

 3   to locate her. #998, p. 36-41, 67-187.

 4   Petsmart Incorporated:

 5           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 6   Petsmart Inc. was served by regular mail and by certified return receipt mail with copies of the

 7   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 24-26, 76-194.

 8           On July 21, 2008, CT Corporation System, Registered Agent, on behalf of Petsmart Inc. was

 9   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

10   Order of Forfeiture and the Notice. #952, p. 27, 31-32, 76-194.

11           On July 17, 2008, Philip Francis, CEO, on behalf of Petsmart Inc. was served by regular mail

12   and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and

13   the Notice. #952, p. 28-30, 76-194.

14           On February 2, 2009, Philip Francis, CEO, on behalf of Petsmart Inc. was served by regular

15   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

16   Forfeiture and the Notice. #998, p. 42-43, 69-187.

17           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

18   of Petsmart Inc. was served by regular mail and by certified return receipt mail with copies of the

19   Second Amended Preliminary Order of Forfeiture and the Notice. #998, p. 44-45, 69-187.

20           On February 2, 2009, CT Corporation System, Registered Agent, on behalf of Petsmart Inc.

21   was served by regular mail and by certified return receipt mail with copies of the Second Amended

22   Preliminary Order of Forfeiture and the Notice. #998, p. 46-47, 69-187.

23   Picture People Incorporated:

24           On July 21, 2008, Robert Beaver, CEO, on behalf of Picture People Inc. was served by regular

25   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

26   and the Notice. #952, p. 33-35, 76-194.


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 1           On August 6, 2008, The Corporation Trust Company, Resident Agent, on behalf of The

 2   Picture People, Inc. was served by regular mail and by certified return receipt mail with copies of the

 3   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 36-38, 76-194.

 4           On July 21, 2008, CSC Services of Nevada, Inc., Resident Agent, on behalf of Picture People,

 5   Inc. was served by regular mail and by certified return receipt mail with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #952, p. 39-41, 76-194.

 7           On August 6, 2008, Incorp Services, Inc., Resident Agent, on behalf of the Picture People,

 8   Inc. was personally served with copies of the Amended Preliminary Order of Forfeiture and the

 9   Notice. #952, p. 42, 76-194.

10           On September 10, 2008, Charles Masson, CEO, The Picture People, Inc. was served by

11   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

12   Forfeiture and the Notice. #952, p. 43-45, 76-194.

13           On February 2, 2009, Charles Masson, CEO, The Picture People, Inc. was served by regular

14   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

15   Forfeiture and the Notice. #998, p. 48-50, 69-187.

16           On February 2, 2009, Robert Beaver, CEO, on behalf of Picture People Inc. was served by

17   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

18   Order of Forfeiture and the Notice. #998, p. 53-54, 69-187.

19           On February 20, 2009, Robert Beaver, CEO, on behalf of Picture People Inc. was served by

20   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

21   Order of Forfeiture and the Notice. #998, p. 51-52, 69-187.

22           On February 2, 2009, CSC Services of Nevada, Resident Agent, on behalf of The Picture

23   People Inc. was served by regular mail and by certified return receipt mail with copies of the Second

24   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 55-56, 69-187.

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 1   Radio Shack Corporation:

 2           On July 21, 2008, CSC Services of Nevada, Inc., Resident Agent, on Behalf of Radio Shack

 3   Corp. was served by regular mail and by certified return receipt mail with copies of the Amended

 4   Preliminary Order of Forfeiture and the Notice. #952, p. 46-48, 76-194.

 5           On July 21, 2008, Julian Day, CEO, on behalf of Radio Shack Corp. was served by regular

 6   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

 7   and the Notice. #952, p. 49-51, 76-194.

 8           On February 2, 2009, Julian Day, CEO, on behalf of Radio Shack Corp. was served by regular

 9   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

10   Forfeiture and the Notice. #998, p. 57-58, 69-187.

11           On February 2, 2009, CSC Services of Nevada, Inc., Resident Agent, on behalf of Radio

12   Shack Corp. was served by regular mail and by certified return receipt mail with copies of the Second

13   Amended Preliminary Order of Forfeiture and the Notice. #998, p. 59-60, 69-187.

14   Ritz Camera Incorporated:

15           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of Ritz

16   Camera Inc. was served by regular mail and by certified return receipt mail with copies of the

17   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 52-54, 76-194.

18           On July 21, 2008, David Ritz, on behalf of Ritz Camera Inc. was served by regular mail and

19   by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and the

20   Notice. #952, p. 55-57, 76-194.

21           On February 2, 2009, David Ritz, on behalf of Ritz Camera Inc. was served by regular mail

22   and by certified return receipt mail with copies of the Second Amended Preliminary Order of

23   Forfeiture and the Notice. #998, p. 61-62, 69-187.

24           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

25   of Ritz Camera Inc. was served by regular mail and by certified return receipt mail with copies of the

26   Second Amended Preliminary Order of Forfeiture and the Notice. #998, p. 63-64, 69-187.


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 1   Sally’s Beauty LLC:

 2           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

 3   Sally’s Beauty LLC was served by regular mail and by certified return receipt mail with copies of the

 4   Amended Preliminary Order of Forfeiture and the Notice. #952, p. 58-60, 76-194.

 5           On July 21, 2008, Michael Renzulli, on behalf of Sally’s Beauty LLC was served by regular

 6   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

 7   and the Notice. #952, p. 61-63, 76-194.

 8           On February 2, 2009, Michael Renzulli, on behalf of Sally’s Beauty LLC was served by

 9   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

10   Order of Forfeiture and the Notice. #998, p. 65-66, 69-187.

11           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

12   of Sally’s Beauty LLC was served by regular mail and by certified return receipt mail with copies of

13   the Second Amended Preliminary Order of Forfeiture and the Notice. #998, p. 67-187.

14   Sears Roebuck and Company:

15           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

16   Sears Roebuck and Co. was served by regular mail and by certified return receipt mail with copies of

17   the Amended Preliminary Order of Forfeiture and the Notice. #952, p. 64-66, 76-194.

18           On July 21, 2008, W. Bruce Johnson, CEO, on behalf of Sears Roebuck and Co. was served

19   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

20   Forfeiture and the Notice. #952, p. 67-69, 76-194.

21           On February 2, 2009, W. Bruce Johnson, CEO, on behalf of Sears Roebuck and Co. was

22   served by regular mail and by certified return receipt mail with copies of the Second Amended

23   Preliminary Order of Forfeiture and the Notice. #999, p. 3-4, 43-161.

24           On February 2, 2009, Corporation Trust Company of Nevada, Registered Agent, on behalf

25   of Sears Roebuck and Co. was served by regular mail and by certified return receipt mail with copies

26   of the Second Amended Preliminary Order of Forfeiture and the Notice. #999, p. 5-6, 43-161.


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 1   Sports Authority Incorporated:

 2           On July 21, 2008, Nesa Hassanein, Registered Agent, on behalf of Sports Authority Inc. was

 3   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

 4   Order of Forfeiture and the Notice. #952, p. 70-72, 76-194.

 5           On July 21, 2008, Jack Smith, CEO, on behalf of Sports Authority Inc. was served by regular

 6   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

 7   and the Notice. #952, p. 73-194.

 8           On February 2, 2009, Jack Smith, CEO, on behalf of Sports Authority Inc. was served by

 9   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

10   Order of Forfeiture and the Notice. #999, p. 7-8, 43-161.

11           On February 2, 2009, Nesa Hassanein, Registered Agent, on behalf of Sports Authority Inc.

12   was served by regular mail and by certified return receipt mail with copies of the Second Amended

13   Preliminary Order of Forfeiture and the Notice. #999, p. 9-10, 43-161.

14   Target Corporation:

15           On July 21, 2008, Corporation Trust Company of Nevada, Registered Agent, on behalf of

16   Target Corp. was served by regular mail and by certified return receipt mail with copies of the

17   Amended Preliminary Order of Forfeiture and the Notice. #953, p. 3-5, 48-166.

18           On September 10, 2008, Bob Ulrich, Chairman, on behalf of Target Corp. was served by

19   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

20   Forfeiture and the Notice. #953, p. 6-8, 48-166.

21           On February 2, 2009, Bob Ulrich, Chairman, on behalf of Target Corp. was served by regular

22   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

23   Forfeiture and the Notice. #999, p. 15-18, 43-161.

24           On February 2, 2009, Corporation Trust Company of Nevada, Resident Agent, on behalf of

25   Target Corp. was served by regular mail and by certified return receipt mail with copies of the Second

26   Amended Preliminary Order of Forfeiture and the Notice. #999, p. 19-20, 43-161.


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 1   TJX Incorporated:

 2           On July 21, 2008, The Corporation Trust Company, Resident Agent, on behalf of TJX Inc.

 3   was served by regular mail and by certified return receipt mail with copies of the Amended

 4   Preliminary Order of Forfeiture and the Notice. #953, p. 9-11, 48-166.

 5           On July 21, 2008, Carol Meyrowitz, CEO, on behalf of TJX Inc. was served by regular mail

 6   and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and

 7   the Notice. #953, p. 12-14, 48-166.

 8           On February 2, 2009, Carol Meyrowitz, CEO, on behalf of TJX Inc. was served by regular

 9   mail and by certified return receipt mail with copies of the Second Amended Preliminary Order of

10   Forfeiture and the Notice. #999, p. 11-12, 43-161.

11           On February 2, 2009, The Corporation Trust Company, Resident Agent, on behalf of TJX Inc.

12   was served by regular mail and by certified return receipt mail with copies of the Second Amended

13   Preliminary Order of Forfeiture and the Notice. #999, p. 13-14, 43-161.

14   TOYS R US:

15           On July 21, 2008, CSC Services of Nevada, Inc., Resident Agent, on behalf of Toys R Us Inc.

16   was served by regular mail and by certified return receipt mail with copies of the Amended

17   Preliminary Order of Forfeiture and the Notice. #953, p. 15-20, 48-166.

18           On July 21, 2008, Gerald L. Storch, CEO, on behalf of Toys R Us Inc. was served by regular

19   mail and by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture

20   and the Notice. #953, p. 21-23, 48-166.

21           On February 2, 2009, Gerald L. Storch, CEO, on behalf of Toys R Us Inc. was served by

22   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

23   Order of Forfeiture and the Notice. #999, p. 21-22, 43-161.

24           On February 2, 2009, CSC Services of Nevada, Inc., Resident Agent, on behalf on Toys R.

25   Us Inc. was served by regular mail and by certified return receipt mail with copies of the Second

26   Amended Preliminary Order of Forfeiture and the Notice. #999, p. 23-26, 43-161.


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 1   Walgreen Company:

 2           On July 21, 2008, Jeffrey A. Rein, CEO, on behalf of Walgreen Company was served by

 3   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

 4   Forfeiture and the Notice. #953, p. 24-29, 48-166.

 5           On July 21, 2008, Allan M. Resnick, Resident Agent, on behalf of Walgreen Company was

 6   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

 7   Order of Forfeiture and the Notice. #953, p. 30-32, 48-166.

 8           On February 2, 2009, Jeffrey R. Rein, CEO, on behalf of Walgreen Company was served by

 9   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

10   Order of Forfeiture and the Notice. #999, p. 27-30, 43-161.

11           On February 2, 2009, Allan M. Resnick, Resident Agent, on behalf of Walgreen Company

12   was served by regular mail and by certified return receipt mail with copies of the Second Amended

13   Preliminary Order of Forfeiture and the Notice. #999, p. 31-32, 43-161.

14   Williams Sonoma Incorporated:

15           On July 21, 2008, Corporation Service Company DBA CSC-Lawyers Incorporating Service,

16   Registered Agent, on behalf of Williams Sonoma Inc. was served by regular mail and by certified

17   return receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #953,

18   p. 33-35, 48-166.

19           On July 21, 2008, W. Howard Lester, CEO, on behalf of Williams Sonoma Inc. was served

20   by regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

21   Forfeiture and the Notice. #953, p. 36-38, 48-166.

22           On February 2, 2009, W. Howard Lester, CEO, on behalf of Williams Sonoma Inc. was

23   served by regular mail and by certified return receipt mail with copies of the Second Amended

24   Preliminary Order of Forfeiture and the Notice. #999, p. 33-34, 43-161.

25           On February 2, 2009, Corporation Service Company DBA CSC-Lawyers Incorporating

26   Service, Registered Agent, on behalf of Williams Sonoma Inc. was served by regular mail and by


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 1   certified return receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and

 2   the Notice. #999, p. 35-36, 43-161.

 3   Windsor Fashions:

 4           On July 15, 2008, CSC Services of Nevada Inc., Resident Agent, on behalf of Windsor

 5   Fashions Inc. was served by regular mail and by certified return receipt mail with copies of the

 6   Amended Preliminary Order of Forfeiture and the Notice. #953, p. 39-41, 48-166.

 7           On July 15, 2008, Kevin Lynch, CEO, on behalf of Windsor Fashions Inc. was served by

 8   regular mail and by certified return receipt mail with copies of the Amended Preliminary Order of

 9   Forfeiture and the Notice. #953, p. 42-44, 48-166.

10           On July 15, 2008, Leon Zekaria, Resident Agent, on behalf of Windsor Fashions Inc. was

11   served by regular mail and by certified return receipt mail with copies of the Amended Preliminary

12   Order of Forfeiture and the Notice. #953, p. 45-166.

13           On February 2, 2009, Kevin Lynch, CEO, on behalf of Windsor Fashions Inc. was served by

14   regular mail and by certified return receipt mail with copies of the Second Amended Preliminary

15   Order of Forfeiture and the Notice. #999, p. 37-38, 43-161.

16           On February 2, 2009, CSC Services of Nevada Inc., Resident Agent, on behalf of Windsor

17   Fashions Inc. was served by regular mail and by certified return receipt mail with copies of the Second

18   Amended Preliminary Order of Forfeiture and the Notice. #999, p. 39-40, 43-161.

19           On February 2, 2009, Leon Zekaria, Resident Agent, on behalf of Windsor Fashions Inc. was

20   served by regular mail and by certified return receipt mail with copies of the Second Amended

21   Preliminary Order of Forfeiture and the Notice. #999, p. 41-161.

22   INDIVIDUALS:

23           On August 6, 2008, Lisa Abraham was personally served with copies of the Amended

24   Preliminary Order of Forfeiture and the Notice. #954, p. 3, 36-154. On January 19, 2009, Lisa

25   Abraham was personally served with copies of the Second Amended Preliminary Order of Forfeiture

26   and the Notice. #1000, p. 3, 35-153.


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 1           On August 12, 2008, Susan Aller was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #954, p. 4, 36-154. On February 2, 2009, Susan Aller

 3   was served by regular mail and by certified return receipt mail with copies of the Second Amended

 4   Preliminary Order of Forfeiture and the Notice. #1000, p. 4-5, 35-153.

 5           On August 6, 2008, Robert Anderlick was personally served with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #954, p. 5, 36-154. On January 19, 2009, Robert

 7   Anderlick was personally served with copies of the Second Amended Preliminary Order of Forfeiture

 8   and the Notice. #1000, p. 6, 35-153.

 9           On August 6, 2008, Andrea Arelleano was served by regular mail and by certified return

10   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #954, p. 6-8,

11   36-154. On February 11, 2009, Andrea Arellano was served by regular mail and by certified return

12   receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

13   #1000, p. 7-10, 35-153.

14           Secret Service attempted to serve Amelia Baker with copies of the Amended Preliminary

15   Order of Forfeiture and Notice but were unable to locate her. #954, p. 9-13. On January 19, 2009,

16   Amelia Baker was personally served with copies of the Second Amended Preliminary Order of

17   Forfeiture and the Notice. #1000, p. 11, 35-153.

18           On August 11, 2008, Stephanie Baker was personally served with copies of the Amended

19   Preliminary Order of Forfeiture and the Notice. #954, p. 14, 36-154. On January 15, 2009, Stephanie

20   Baker was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

21   the Notice. #1000, p. 12, 35-153.

22           On August 5, 2008, Nancy Barbour was personally served with copies of the Amended

23   Preliminary Order of Forfeiture and the Notice. #954, p. 15, 36-154. On January 22, 2009, Nancy

24   Barbour was personally served with copies of the Second Amended Preliminary Order of Forfeiture

25   and the Notice. #1000, p. 13, 35-153.

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 1           On August 13, 2008, Jonathan Bauer was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #954, p. 16, 36-154. On February 2, 2009, Jonathan

 3   Bauer was served by regular mail and by certified return receipt mail with copies of the Second

 4   Amended Preliminary Order of Forfeiture and the Notice. #1000, p. 14-15, 35-153.

 5           On July 31, 2008, Dominick Carone was personally served with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #954, p. 17, 36-154. On January 15, 2009, Dominick

 7   Carone was personally served with copies of the Second Amended Preliminary Order of Forfeiture

 8   and the Notice. #1000, p. 16, 35-153.

 9           On August 6, 2008, Rebecca Carson was served by regular mail and by certified return receipt

10   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #954, p. 18-20, 36-

11   154. On February 2, 2009, Rebecca Carson was served by regular mail and by certified return receipt

12   mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #1000, p.

13   17-18, 35-153.

14           On August 6, 2008, Brittany Carter was personally served with copies of the Amended

15   Preliminary Order of Forfeiture and the Notice. #954, p. 21, 36-154. On January 16, 2009, Brittany

16   Carter was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

17   the Notice. #1000, p. 19, 35-153.

18           On August 11, 2008, Angie Coscia was personally served with copies of the Amended

19   Preliminary Order of Forfeiture and the Notice. #954, p. 22, 36-154. On January 15, 2009, Angie

20   Coscia was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

21   the Notice. #1000, p. 20, 35-153.

22           On August 19, 2008, Bonnie Dailey was personally served with copies of the Amended

23   Preliminary Order of Forfeiture and the Notice. #954, p. 23, 36-154. On February 4, 2009, Bonnie

24   Dailey was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

25   the Notice. #1000, p. 21, 35-153.

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 1           On August 6, 2008, Victoria Davenport was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #954, p. 24, 36-154. On January 19, 2009, Victoria

 3   Davenport was personally served with copies of the Second Amended Preliminary Order of Forfeiture

 4   and the Notice. #1000, p. 22, 35-153.

 5           On August 11, 2008, Jewel Dotton was personally served with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #954, p. 25, 36-154. On January 16, 2009, Jewel

 7   Dotton was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

 8   the Notice. #1000, p. 23, 35-153.

 9           Secret Service attempted to serve Brian Eldridge with copies of the Amended Preliminary

10   Order of Forfeiture and the Notice but were unable to locate him. #954, p. 26-33, 36-154. Secret

11   service attempted to serve Brian Eldridge with the Second Amended Preliminary Order of Forfeiture

12   and the Notice but were unable to locate him. #1000, p. 24-32.

13           On July 31, 2008, Pamela Essayian was personally served with copies of the Amended

14   Preliminary Order of Forfeiture and the Notice. #954, p. 35-154. On January 16, 2009, Pamela

15   Essayian was personally served with copies of the Second Amended Preliminary Order of Forfeiture

16   and the Notice. #1000, p. 33, 35-153.

17           On July 31, 2008, Paul Rd Essayian was personally served with copies of the Amended

18   Preliminary Order of Forfeiture and the Notice. #954, p. 34, 36-154. On January 16, 2009, Paul Rd

19   Essayian was personally served with copies of the Second Amended Preliminary Order of Forfeiture

20   and the Notice. #1000, p. 34-153.

21           On August 11, 2008, David Faircloth was personally served with copies of the Amended

22   Preliminary Order of Forfeiture and the Notice. #955, p. 3, 18-136. On January 15, 2009, David

23   Faircloth was personally served with copies of the Second Amended Preliminary Order of Forfeiture

24   and the Notice. #1001, p. 3, 46-164.

25           On August 1, 2008, Richard Favero was personally served with copies of the Amended

26   Preliminary Order of Forfeiture and the Notice. #955, p. 4, 18-136. On January 15, 2009, Richard


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 1   Favero was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

 2   the Notice. #1001, p. 4, 46-164.

 3           On August 6, 2008, Jonathan Fruitkin was served by regular mail and by certified return

 4   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #955, p. 5-6,

 5   18-136. On February 2, 2009, Jonathan Fruitkin was served by regular mail and by certified return

 6   receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

 7   #1001, p. 5-6, 46-164.

 8           On August 6, 2008, Melonie Gallegos was served by regular mail and by certified return

 9   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #955, p. 7-8,

10   18-136. On February 2, 2009, Melonie Gallegos was served by regular mail and by certified return

11   receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice.

12   #1001, p. 7-9, 46-164.

13           On August 6, 2008, Elizabeth Gautereaux was served by regular mail and by certified return

14   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #955, p. 9-

15   11, 18-136. On February 2, 2009, Elizabeth Gautereaux was served by regular mail and by certified

16   return receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and the

17   Notice. #1001, p. 10-12, 46-164.

18           On September 18, 2008, David Gonzales was personally served with copies of the Amended

19   Preliminary Order of Forfeiture and the Notice. #955, p. 12, 18-136. On January 20, 2009, David

20   Gonzales was personally served with copies of the Second Amended Preliminary Order of Forfeiture

21   and the Notice. #1001, p. 13, 46-164.

22           On August 6, 2008, Tiffany Gord was served by regular mail and by certified return receipt

23   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #955, p. 13-14, 18-

24   136. On February 2, 2009, Tiffany Gord was served by regular mail and by certified return receipt

25   mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #1001, p.

26   14-15, 46-164.


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 1           On September 10, 2008, Carma Gruber was served by regular mail and by certified return

 2   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #955, p. 15-

 3   136. On February 2, 2009, Carma Gruber was served by regular mail and by certified return receipt

 4   mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #1001, p.

 5   16-17, 46-164.

 6           On September 10, 2008, Barney Hambrick was served by regular mail and by certified return

 7   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #956, p. 3-5,

 8   27-145. On February 2 and 20, 2009, Barney Hambrick, Jr. was served by regular mail and by

 9   certified return receipt mail with copies of the Second Amended Preliminary Order of Forfeiture and

10   the Notice. #1001, p. 18-21, 46-164.

11           On August 1, 2008, John Hans was personally served with copies of the Amended

12   Preliminary Order of Forfeiture and the Notice. #956, p. 6, 27-145. On January 15, 2009, John Hans

13   was personally served with copies of the Second Amended Preliminary Order of Forfeiture and the

14   Notice. #1001, p. 22, 46-164.

15           On August 6, 2008, Michael Head was personally served with copies of the Amended

16   Preliminary Order of Forfeiture and the Notice. #956, p. 7, 27-145. On January 19, 2009, Michael

17   Head was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

18   the Notice. #1001, p. 23, 46-164.

19           On September 10, 2008, Jason Holman was served by regular mail and by certified return

20   receipt mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #956, p. 8-

21   10, 27-145.

22           On August 11, 2008, Thomas Homewood was personally served with copies of the Amended

23   Preliminary Order of Forfeiture and the Notice. #956, p. 11, 27-145. On January 19, 2009, Thomas

24   Homewood was personally served with copies of the Second Amended Preliminary Order of

25   Forfeiture and the Notice. #1001, p. 24, 46-164.

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 1           Secret Service attempted service on Christopher Hopkins with the Amended Preliminary

 2   Order of Forfeiture and the Notice but were unable to locate him. #956, p. 12-19, 27-145. Secret

 3   Service attempted service on Christopher Hopkins with the Amended Preliminary Order of Forfeiture

 4   and the Notice but were unable to locate him. #1001, p. 25-33, 46-164.

 5           On August 11, 2008, Chris Howey was personally served with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #956, p. 20, 27-145. On January 15, 2009, Chris

 7   Howey was personally served with copies of the Second Amended Preliminary Order of Forfeiture

 8   and the Notice. #1001, p. 34, 46-164.

 9           On August 1, 2008, Wendi Jacobs was personally served with copies of the Amended

10   Preliminary Order of Forfeiture and the Notice. #956, p. 21, 27-145. On January 16, 2009, Wendi

11   Jacobs was personally served with copies of the Second Amended Preliminary Order of Forfeiture and

12   the Notice. #1001, p. 35, 46-164.

13           On August 6, 2008, Crystal Jirak was served by regular mail and by certified return receipt

14   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #956, p. 22-24, 27-

15   145. On February 2, 2009, Crystal Jirak was served by regular mail and by certified return receipt

16   mail with copies of the Second Amended Preliminary Order of Forfeiture and the Notice. #1001, p.

17   36-37, 46-164.

18           On August 13, 2008, Stephanie Johnson was personally served with copies of the Amended

19   Preliminary Order of Forfeiture and the Notice. #956, p. 25, 27-145. Secret Service Agents attempted

20   to personally serve Stephanie Johnson with the Second Amended Preliminary Order of Forfeiture and

21   the Notice but were unsuccessful.#1001, p. 38-43

22           On August 12, 2008, Kenneth King was personally served with copies of the Amended

23   Preliminary Order of Forfeiture and the Notice. #956, p. 26-145. On February 4, 2009, Kenneth King

24   was personally served with copies of the Second Amended Preliminary Order of Forfeiture and the

25   Notice. #1001, p. 44, 46-164.

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 1           On August 1, 2008, Gail Larson was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #957, p. 3, 33-151. On January 16, 2009, Gail Larson

 3   was personally served with copies of the Second Amended Preliminary Order of Forfeiture and the

 4   Notice. #1001, p. 45-164.

 5           Secret Service attempted to serve Travis Lewis with the Amended Preliminary Order of

 6   Forfeiture and the Notice but were unable to locate him. #957, p. 4-8, 33-151. Secret Service

 7   attempted to serve Travis Lewis with the Second Amended Preliminary Order of Forfeiture and the

 8   Notice but were unable to locate him. #1002, p. 3-8, 91-209.

 9           On August 6, 2008, Edwin Los was personally served with copies of the Amended

10   Preliminary Order of Forfeiture and the Notice. #957, p. 9, 33-151. On January 19, 2009, Edwin Los

11   was personally served with the Second Amended Preliminary Order of Forfeiture and the Notice.

12   #1002, p. 9, 91-209.

13           On August 4, 2008, Cynthia Meyers was personally served with copies of the Amended

14   Preliminary Order of Forfeiture and the Notice. #957, p. 10, 33-151.On January 15, 2009, Cynthia

15   Meyers was personally served with the Second Amended Preliminary Order of Forfeiture and the

16   Notice. #1002, p. 10, 91-209.

17           On July 25, 2008, Patricia Miller was served by regular mail and by certified return receipt

18   mail with the Amended Preliminary Order of Forfeiture and the Notice. #957, p. 11-13, 33-151. On

19   February 2, 2009, Patricia Miller was served by regular mail and by certified return receipt mail with

20   the Second Amended Preliminary Order of Forfeiture and the Notice. Service was returned as

21   undeliverable. #1002, p. 11-14, 91-209. On February 11, 2009, Patricia Miller was served by regular

22   mail and by certified return receipt mail with the Second Amended Preliminary Order of Forfeiture

23   and the Notice. #1002, p. 15-16, 91-209.

24           On August 12, 2008, Jill Moline was personally served with copies of the Amended

25   Preliminary Order of Forfeiture and the Notice. #957, p. 14, 33-151. On February 5, 2009, Jill Moline

26   ...


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 1   was personally served with the Second Amended Preliminary Order of Forfeiture and the Notice.

 2   #1002, p. 17, 91-209.

 3           On August 6, 2008, Erica Moran was served by regular mail and by certified return receipt

 4   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #957, p. 15-17, 33-

 5   151. On February 2, 2009, Erica Moran was served by regular mail and by certified return receipt mail

 6   with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 18-20, 91-209.

 7           On July 31, 2008, Michael Musinski was personally served with copies of the Amended

 8   Preliminary Order of Forfeiture and the Notice. #957, p. 18, 33-151. On January 16, 2009, Michael

 9   Musinski was personally served with the Second Amended Preliminary Order of Forfeiture and the

10   Notice. #1002, p. 21, 91-209.

11           Secret Service attempted to serve Elisa Narian with the Amended Preliminary Order of

12   Forfeiture and the Notice but were unable to locate her. #957, p. 19-23, 33-151. Secret Service

13   attempted to serve Elisa Narian with the Second Amended Preliminary Order of Forfeiture and the

14   Notice but were unable to locate her. #1002, p. 22-27, 91-209.

15           On July 31, 2008, Tricia Nelson was personally served with copies of the Amended

16   Preliminary Order of Forfeiture and the Notice. #957, p. 24, 33-151. Secret Service attempted to serve

17   Tricia Nelson with the Second Amended Preliminary Order of Forfeiture and the Notice but were

18   unable to contact her.#1002, p. 28-33, 91-209.

19           On August 12, 2008, Mark Nesbitt was personally served with copies of the Amended

20   Preliminary Order of Forfeiture and the Notice. #957, p. 25, 33-151. On January 15, 2009, Mark

21   Nesbitt was personally served with the Second Amended Preliminary Order of Forfeiture and the

22   Notice. #1002, p. 34, 91-209.

23           On July 31, 2008, Anthony O’Malley was personally served with copies of the Amended

24   Preliminary Order of Forfeiture and the Notice. #957, p. 26, 33-151. On January 22, 2009, Anthony

25   O’Malley was personally served with the Second Amended Preliminary Order of Forfeiture and the

26   Notice. #1002, p. 35, 91-209.


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 1           On August 11, 2008, Maria Osorio was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #957, p. 27, 33-151. On January 15, 2009, Maria

 3   Osorio was personally served with the Second Amended Preliminary Order of Forfeiture and the

 4   Notice. #1002, p. 36, 91-209.

 5           On August 13, 2008, Francisco Perez was personally served with copies of the Amended

 6   Preliminary Order of Forfeiture and the Notice. #957, p. 28, 33-151. On January 15, 2009, Francisco

 7   Perez was personally served with the Second Amended Preliminary Order of Forfeiture and the

 8   Notice. #1002, p. 37, 91-209.

 9           On August 11, 2008, Hayley Pettrey was personally served with copies of the Amended

10   Preliminary Order of Forfeiture and the Notice. #957, p. 29, 33-151. On January 15, 2009, Hayley

11   Pettrey was personally served with the Second Amended Preliminary Order of Forfeiture and the

12   Notice. #1002, p. 38, 91-209.

13           On August 11, 2008, Keith Pettrey was personally served with copies of the Amended

14   Preliminary Order of Forfeiture and the Notice. #957, p. 30, 33-151. On January 22, 2009, Keith

15   Pettrey was personally served with the Second Amended Preliminary Order of Forfeiture and the

16   Notice. #1002, p. 39, 91-209.

17           On August 1, 2008, Frank Polito was personally served with copies of the Amended

18   Preliminary Order of Forfeiture and the Notice. #957, p. 31, 33-151. On January 23, 2009, Frank

19   Polito was personally served with the Second Amended Preliminary Order of Forfeiture and the

20   Notice. #1002, p. 40, 91-209.

21           On February 2, 2009, Jason Prescott was served by regular mail and by certified return receipt

22   mail with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 41-42, 91-

23   209.

24           On July 31, 2008, David Pulse was personally served with copies of the Amended Preliminary

25   Order of Forfeiture and the Notice. #957, p. 32-151. On January 15, 2009, David Pulse was personally

26   ...


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 1   served with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 43, 91-

 2   209.

 3           Secret Service attempted to serve David Rangappa with the Amended Preliminary Order of

 4   Forfeiture and the Notice but were unable to locate him. #958, p. 3-7, 50-168. Secret Service

 5   attempted to serve David Rangappa with the Second Amended Preliminary Order of Forfeiture and

 6   the Notice but were unable to locate him. #1002, p. 44-49, 91-209.

 7           Secret Service attempted to serve Mario Rhodes with the Amended Preliminary Order of

 8   Forfeiture and the Notice but were unable to locate him. #958, p. 8-12, 50-168. Secret Service

 9   attempted to serve Mario Rhodes with the Second Amended Preliminary Order of Forfeiture and the

10   Notice but were unable to locate him. #1002, p. 50-55, 91-209.

11           On August 1, 2008, Alice Rubino was personally served with copies of the Amended

12   Preliminary Order of Forfeiture and the Notice. #958, p. 13, 50-168. On January 16, 2009, Alice

13   Rubino was personally served with the Second Amended Preliminary Order of Forfeiture and the

14   Notice. #1002, p. 56, 91-209.

15           On August 6, 2008, Karey Sands was personally served with copies of the Amended

16   Preliminary Order of Forfeiture and the Notice. #958, p. 14, 50-168. On January 20, 2009, Karey

17   Sands was personally served with the Second Amended Preliminary Order of Forfeiture and the

18   Notice. #1002, p. 57, 91-209.

19           On August 11, 2008, Mary Santiago was personally served with copies of the Amended

20   Preliminary Order of Forfeiture and the Notice. #958, p. 15, 50-168. On February 4, 2009, Mary

21   Santiago was personally served with the Second Amended Preliminary Order of Forfeiture and the

22   Notice. #1002, p. 58, 91-209.

23           On August 6, 2008, Steve Sawchuck was personally served with copies of the Amended

24   Preliminary Order of Forfeiture and the Notice. #958, p. 16, 50-168. On January 19, 2009, Steve

25   Sawchuck was personally served with the Second Amended Preliminary Order of Forfeiture and the

26   Notice. #1002, p. 59, 91-209.


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 1           On August 6, 2008, David Scarletto was served by regular mail and certified return receipt

 2   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #958, p. 17-19, 50-

 3   168. On February 2, 2009, David Scarletto was served by regular mail and certified return receipt mail

 4   with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 60-61, 91-209.

 5           On September 10, 2008, David Sepulveda was served by regular mail and by certified return

 6   receipt with copies of the Amended Preliminary Order of Forfeiture and the Notice. #958, p. 20-22,

 7   50-168. On February 2, 2009, David Sepulveda was served by regular mail and by certified return

 8   receipt mail with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 62-

 9   63, 91-209.

10           On August 1, 2008, Ryan Simms was personally served with copies of the Amended

11   Preliminary Order of Forfeiture and the Notice. #958, p. 23, 50-168. On January 19, 2009, Ryan

12   Simms was personally served with the Second Amended Preliminary Order of Forfeiture and the

13   Notice. #1002, p. 64, 91-209.

14           On August 1, 2008, Debbie Simon was personally served with copies of the Amended

15   Preliminary Order of Forfeiture and the Notice. #958, p. 24, 50-168. On January 15, 2009, Debbie

16   Simon was personally served with the Second Amended Preliminary Order of Forfeiture and the

17   Notice. #1002, p. 65, 91-209.

18           On July 21, 2008, Richard Barnett on behalf of Debbie Simon was served by regular mail and

19   by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and the

20   Notice. #958, p. 25-27, 50-168. On February 2, 2009, Richard Barnett on behalf of Debbie Simon was

21   served by regular mail and by certified return receipt mail with the Second Amended Preliminary

22   Order of Forfeiture and the Notice. #1002, p. 66-67, 91-209.

23           On August 1, 2008, Sammy Simon was personally served with copies of the Amended

24   Preliminary Order of Forfeiture and the Notice. #958, p. 28-29, 50-168. On January 15, 2009, Sammy

25   Simon was personally served with the Second Amended Preliminary Order of Forfeiture and the

26   Notice. #1002, p. 68, 91-209.


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 1           On July 21, 2008, Richard Barnett on behalf of Sammy Simon was served by regular mail and

 2   by certified return receipt mail with copies of the Amended Preliminary Order of Forfeiture and the

 3   Notice. #958, p. 30-32, 50-168. On February 2, 2009, Richard Barnett on behalf of Sammy Simon

 4   was served by regular mail and by certified return receipt mail with the Second Amended Preliminary

 5   Order of Forfeiture and the Notice. #1002, p. 69-70, 91-209.

 6           On August 19, 2008, Deana Smith was personally served with copies of the Amended

 7   Preliminary Order of Forfeiture and the Notice. #958, p. 33, 50-168. On January 15, 2009, Deana

 8   Smith was personally served with the Second Amended Preliminary Order of Forfeiture and the

 9   Notice. #1002, p. 71, 91-209.

10           On August 6, 2008, Mark Thorne was served by regular mail and by certified return receipt

11   mail with copies of the Amended Preliminary Order of Forfeiture and the Notice. #958, p. 34-36, 50-

12   168. On February 2, 2009, Mark Thorne was served by regular mail and by certified return receipt

13   mail with the Second Amended Preliminary Order of Forfeiture and the Notice. #1002, p. 72-73, 91-

14   209.

15           Secret Service attempted to serve Aaron Trujillo with the Amended Preliminary Order of

16   Forfeiture and the Notice but were unable to locate him. #958, p. 37-41, 50-168. Secret Service

17   attempted to serve Aaron Trujillo with the Second Amended Preliminary Order of Forfeiture and the

18   Notice but were unable to locate him. #1002, p. 74-79, 91-209.

19           On August 12, 2008, Joy Turner was personally served with copies of the Amended

20   Preliminary Order of Forfeiture and the Notice. #958, p. 42, 50-168. On February 5, 2009, Joy Turner

21   was served by regular mail and by certified return receipt mail with the Second Amended Preliminary

22   Order of Forfeiture and the Notice. #1002, p. 80-82, 91-209.

23           On August 12, 2008, Michael Verali was personally served with copies of the Amended

24   Preliminary Order of Forfeiture and the Notice. #958, p. 43, 50-168. On January 15, 2009, Michael

25   Verali was personally served with the Second Amended Preliminary Order of Forfeiture and the

26   Notice. #1002, p. 83, 91-209.


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 1           On July 31, 2008, Julie Weiner was personally served with copies of the Amended

 2   Preliminary Order of Forfeiture and the Notice. #958, p. 44, 50-168. On January 15, 2009, Julie

 3   Weiner was personally served with the Second Amended Preliminary Order of Forfeiture and the

 4   Notice. #1002, p. 84, 91-209.

 5           Secret Service attempted service on Alfred Williams with the Amended Preliminary Order

 6   of Forfeiture and the Notice but discovered Mr. Williams is deceased. #958, p. 45-168. Secret Service

 7   attempted service on Alfred Williams with the Second Amended Preliminary Order of Forfeiture and

 8   the Notice but discovered Mr. Williams is deceased. #1002, p. 85-209.

 9   Petitions:

10           On August 15, 2008, Petition of Debbie and Sammy Simon for Hearing to Adjudicate Interest

11   in Forfeited Property was entered with the court. #845. On February 3, 2011, the United States filed

12   Settlement Agreement, Stipulation for Entry of Order of Forfeiture as to Sammy and Debbie Simon.

13   #1087. On February 10, 2011, Order on Stipulation Granting Stipulation for Entry of Order of

14   Forfeiture as to Sammy Simon and Debbie Simon was entered with the court. #1090.

15           On August 19, 2008, Petition to assert Legal Interest in Forfeited Property was entered with

16   the court on behalf of Clark County. #848. On August 10, 2009, Notice of Clark County’s

17   Withdrawal of Petition to Assert Legal Interest in Forfeited Property was entered. #1029.

18           On August 22, 2008, Home Depot, U.S.A., Inc.’s Petition to Assert Legal Interest in Forfeited

19   Property was entered with the court. #856. On February 3, 2011, the United States filed Settlement

20   Agreement, Stipulation for Entry of Order of Forfeiture as to Home Depot, U.S.A., Inc., and Order.

21   #1088. On February 10, 2011, Order on Stipulation Granting Stipulation for Entry of Order of

22   Forfeiture as to Home Depot, U.S.A., Inc., was entered. #1091.

23           On February 12, 2009, Affidavit of Marilyn Wilson and Relief from Forfeiture for Remission

24   was filed with the court on behalf of Capital One Auto Finance, Inc. #979. On March 3, 2009, Notice

25   of Filing Withdrawal of Affidavit of Marilyn Wilson and Relief from Forfeiture was filed by the

26   ...


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 1   United States. #992. On March 5, 2009, the Court granted the withdrawal of Capital One Auto

 2   Finance, Inc. #994.

 3           On February 24, 2009, Petition of Nevada Federal Credit Union for Hearing to Adjudicate

 4   Legal Interest in 2005 GMC K2500 Pickup Vehicle Identification No. 1GTHK23245F972744

 5   Pursuant to 21 USC 853(n)(2) was entered with the court. #988. On July 1, 2009, Settlement

 6   Agreement, Stipulation for Order of Forfeiture as to Nevada Federal Credit Union, and Order was filed

 7   with the court. #1025. On July 9, 2009, Order Granting Settlement Agreement and Stipulation of

 8   Forfeiture as to Nevada Federal Credit Union was entered. #1026

 9           On March 27, 2009, Petition of Countrywide Home Loans for Hearing to Adjudicate Legal

10   Interest in Real Property Pursuant to 21 U.S.C. § 853(n) was filed with the court. #1011. On August

11   26, 2009, Amended Petition of BAC Home Loans Servicing, L.P. for Hearing to Adjudicate Legal

12   Interest in Real Property Pursuant to 21 U.S.C. § 853(n) was filed. #1032. On February 3, 2011, the

13   United States filed Settlement Agreement, Stipulation for Entry of Order of Forfeiture as to BAC

14   Home Loans Servicing, L.P., a Subsidiary of Bank of America, N.A., Formerly Known as

15   Countrywide Home Loans Servicing, L.P., and Order. #1089. On February 10, 2011, Order on

16   Stipulation Granting Stipulation for Entry of Order of Forfeiture as to BAC Home Loans Servicing,

17   L.P., a Subsidiary of Bank of America, N.A., Formerly known as Countrywide Home Loans Servicing

18   L.P., was entered. #1092.

19           This Court finds no other petitions were filed herein by or on behalf of any person or entity

20   and the time for filing such petitions and claims has expired.

21           This Court finds no petitions are pending with regard to the assets named herein and the time

22   for presenting such petitions has expired.

23           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

24   title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

25   United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

26   32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,


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 1   Section 2461(c); Title 18, United States Code, Sections 982(a)(1), (a)(2)(A), (a)(2)(B), and (b); Title

 2   18, United States Code, Section 1028(b)(5); and Title 21, United States Code, Section 853(p); and

 3   Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to law, up to

 4   $3,900,000.00, including but not limited to:

 5           (a)    A COMMANDER 2800 PARTY DECK “THE STUNNER” HAUL NUMBER
                    CF8682RBBOAT LOCATED IN THE DRIVEWAY AT 6706 PYRACANTHA
 6                  GLEN COURT, LAS VEGAS, NEVADA;

 7           (b)    2000 BLUE FORD CONTOUR, NEVADA LICENSE PLATE 632SBZ, VIN
                    1FAFP66L0YK105251, IN THE DRIVEWAY AT 6706 PYRACANTHA GLEN
 8                  COURT, LAS VEGAS, NEVADA;

 9           (c)    2005 RED GMC TRUCK, NEVADA LICENSE PLATE 576SZX, VIN
                    1GTHK23245F972744, IN THE DRIVEWAY AT 6706 PYRACANTHA GLEN
10                  COURT, LAS VEGAS, NEVADA;

11           (d)    ANY AND ALL FUNDS CONTAINED IN WELLS FARGO ACCOUNT
                    #3326126053, IN THE NAME OF SHARON SIMON, AT 1760 E CHARLESTON
12                  BLVD, LAS VEGAS, NV 89104;

13           (e)    ANY AND ALL FUNDS CONTAINED IN WELLS FARGO ACCOUNT
                    #3418791368, IN THE NAME OF SIMON SELZ, INC., dba QUIK DROP, AT 1760
14                  E CHARLESTON BLVD, LAS VEGAS, NV 89104;

15           (f)    ANY AND ALL FUNDS CONTAINED IN WELLS FARGO ACCOUNT
                    #8402177318, IN THE NAME OF SHARON SIMON AND DEBBIE SIMON, AT
16                  1760 E CHARLESTON BLVD, LAS VEGAS, NV 89104;

17           (g)    2005 BLACK HUMMER H2, NEVADA LICENSE PLATE 001TLS, VIN
                    5GRGN22U05H112574, IN THE DRIVEWAY AT 6706 PYRACANTHA GLEN
18                  COURT, LAS VEGAS, NEVADA;

19           (h)    2003 GRAY TRAILER WITH “SKULL AND PISTONS” EMBLEM ON THE
                    TAILGATE, CALIFORNIA LICENSE PLATE 4DG3936, VIN:
20                  1M9UF182737108572, AND THE CONTENTS OF THE TRAILER:

21                  2)      GUCCI MANS WATCH SERIAL #8600M;

22                  3)      ULTRA BRAND RING SET WHITE METAL WITH WHITE STONE;

23                  4)      CANON EOS REBEL T2 CAMERA;

24                  5)      SONY CYBERSHOT DSCS85 DIGITAL CAMERA;

25                  6)      CANON CAMCORDER MODEL# NTSCZR45MC;

26                  7)      CANON DIGITAL CAMERA POWERSHOT A85;


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 1             8)    SONY HANDICAM CAMCORDER DCRDVD203NTSC;

 2             9)    CANON DIGITAL CAMERA POWERSHOT SD200;

 3             10)   OLYMPUS DIGITAL CAMERA C700 ULTRA ZOOM;

 4             11)   NIKON COOLPIX 7600 DIGITAL CAMERA SERIAL #30496613;

 5             12)   MINOLTA DIGITAL CAMERA MODEL #DIMAGEG400;

 6             13)   DELL DIMENSION 4700 SERIAL #9N3C561;

 7             14)   DELL DIMENSION 4700 SERIAL #FKSVZ61;

 8             15)   HP PAVILION 700 SERIAL #MX21602184;

 9             16)   MAC MODEL #A1047 POWER MAC G5;

10             17)   DELL OPTIPLEX GX2GO SERIAL #81ZC631;

11             18)   POWER MAC G4 COMPUTER TOWER SERIAL #XB1170LQKXS;

12             19)   SONY VAIO PCV-A31L SERIAL #3012884;

13             20)   IBM AS400E COMPUTER TOWER SERIAL #10-69D80;

14             21)   HP COMPAQ DESKTOP COMPUTER SERIAL #2UB4 160 1XN;

15             22)   HP COMPAQ DESKTOP SERIAL NUMBER U307KN9ZJ345;

16             23)   HP COMPAQ DESKTOP COMPUTER SERIAL #2UB41G01ZF;

17             24)   HP COMPAQ DESKTOP COMPUTER SERIAL #USU3260FD4;

18             25)   HP COMPAQ DESKTOP COMPUTER SERIAL #USW41204YZ;

19             26)   MAC POWERBOOK G4 LAPTOP COMPUTER MODEL#1025;

20             27)   TOSHIBA SATELLITE LAPTOP COMPUTER SERIAL #Y2023909CU-1;

21             28)   HP COMPAQ NC8230 LAPTOP COMPUTER SERIAL #CNU5351D1M;

22             29)   SONY VAIO LAPTOP COMPUTER MODEL #PCG-7G20 SERIAL

23                   #C3LLTWQ5;

24             30)   HP NC6120 LAPTOP COMPUTER SERIAL #CNU5341W4S;

25             31)   MAC POWERBOOK G4 LAPTOP COMPUTER SERIAL # V7314248MVZ;

26             32)   DELL XPS LAPTOP COMPUTER SERIAL #JNYFP61;


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 1             33)   IMAC DESKTOP COMPUTER SERIAL #XA84729TEUL;

 2             34)   BLACK BAG CONTAINING HP COMPAQ 6110 SERIAL #CNU509F5G2;

 3             35)   SONY VAIO LAPTOP SERIAL #J0002TYKH;

 4             36)   HP PAVILION ZD 8000 SERIAL #CNF5050NWB;

 5             37)   GATEWAY LAPTOP MODEL 675 SERIAL #1100232880;

 6             38)   TOSHIBA SATELLITE 1955-5S03 SERIAL #92049400C;

 7             39)   HP DV400 LAPTOP SERIAL #CNE5160P7N;

 8             40)   DELL INSPIRON LAPTOP 600 M SERIAL #3J5ZL71;

 9             41)   GATEWAY MODEL 350WVN SERIAL #0034027338;

10             42)   DELL INSPIRON SERIAL #5QZQL71;

11             43)   WINBOOK LAPTOP GREEN SERIAL #V24009040237;

12             44)   SONY VAIO LAPTOP MODEL# PCG7D2L SERIAL #C300M7E8;

13             45)   GOLF CALLAWAY BAG CONTAINING 13 GOLF CLUBS;

14             46)   CALLAWAY GOLF BAG WITH 10 GOLF CLUBS;

15             47)   ADAMS GOLF BAG CONTAINING 6 GOLF CLUBS;

16             48)   SERVER COMPUTER;

17             49)   DUFFLE BAG CONTAINING PHOTO EQUIPMENT;

18             50)   PHOTO ILLUMINATION DEVICE;

19             51)   GENERATOR SERIAL #12684;

20             52)   SAMSUNG FLAT SCREEN TV SERIAL #39Y3CMY702788Z;

21             53)   HP MONITOR 15” SERIAL #MXK52800F8;

22             54)   MAC WELDER SERIAL #ULT20004080004;

23             55)   TOSHIBA COMPUTER SERIAL #2020565000846;

24             56)   14” BLACK & WHITE SWITCHER W/2 NIGHT VISION CAMERAS

25                   SERIAL #7859711042;

26             57)   MMF CASH DRAWER;


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 1             58)   CALINA GOLF BAG CONTAINING 11 GOLF CLUBS;

 2             59)   NIKE GOLF BAG CONTAINING 12 GOLF CLUBS;

 3             60)   SET OF NIKE IRONS IN A BOX;

 4             61)   THREE (3) IGNITE GOLF CLUBS;

 5             62)   THREE (3) ONE OF EACH, BEAR TRACKER GOLF CLUB, CALLAWAY

 6                   GOLF CLUB, TAYLOR MADE GOLF CLUB;

 7             63)   DEWALT CIRCULAR SAW NO SERIAL NUMBER;

 8             64)   AN X-BOX 360, 6 X-BOX GAMES, 2 X-BOX CONTROLLERS, MISC.

 9                   POWER CORDS SERIAL #504288660406;

10             65)   DVD HOME ENTERTAINMENT SYSTEM SERIAL #034757950880061AS;

11             66)   BOSCH AQUA START TANKLESS GAS WATER HEATER SERIAL

12                   #7-703-411-002;

13             67)   BOSCH AQUA STAR TANKLESS GAS WATER HEATER;

14             68)   SONY VEGA 19” TV, MODEL #KLV S19A10;

15             69)   SAMSUNG FLATSCREEN LCD TV SERIAL #AA1X34KXS00921B;

16             70)   TWO (2) ORECK VACUUM CLEANERS SERIAL #2000HHBD022195

17                   AND UNAVAILABLE NUMBER;

18             71)   MAKITA 18 VOLT 4-PC CORDLESS COMBO KIT MODEL #LXT400;

19             72)   YAMAHA 600 W EMX 660 POWER MIXER IN A BOX;

20             73)   BENCHTOP PRO 18 VOLT 6 IN 1 COMBO KIT;

21             74)   TROY BILT 5550 WATT GAS POWER GENERATOR SERIAL

22                   #060227YD49748;

23             75)   EPSON    POWERLITE     S3   MULTIMEDIA       PROJECTOR       SERIAL

24                   #V111HI79020;

25             76)   BOSE COMPANION 3 MULTIMEDIA SPEAKER SYSTEM SERIAL

26                   #033061Z51110477AC;


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 1             77)   MITSUBISHI ELECTRIC DLP PROJECTOR SERIAL #0003994;

 2             78)   PHILLIPS HARD DRIVE DVD RECORDER SERIAL #NW000616006175;

 3             79)   HP PAVILION PC 19” LCD FLAT PANEL MONITOR;

 4             80)   SAECO ITALIA AUTOMATIC COFFEE MACHINE SERIAL #178435;

 5             81)   QUARTER CABLE NAIL GUN KIT;

 6             83)   JMC GLOBAL MACHINERY COMPANY TOOL KIT;

 7             84)   BOSE     DVD   HOME        ENTERTAINMENT       CENTER        SERIAL

 8                   #034125952920274AS;

 9             85)   HP 19” FLAT PANEL MONITOR;

10             86)   PHOTO ILLUMINATION DEVICE;

11             87)   EMERSON 15” LCD STEREO TV & DVD COMBO MODEL #EWL15D6;

12             88)   MILWAUKEE TOOL KIT;

13             89)   HITLI TOOL KIT;

14             91)   DEWALT NAILER KIT;

15             92)   PALOMA     TANKLESS         GAS    WATER      HEATER         SERIAL

16                   #PJNG0306P000325;

17             93)   PALOMA TANKLESS GAS WATER HEATER MODEL PTG-74X;

18             94)   PALOMA TANKLESS WATER HEATER MODEL PTG-74PV;

19             95)   PALOMA TANKLESS GAS WATER HEATER MODEL PTG-74PV;

20             96)   EMACHINES MODEL W3115 DESKTOP PC WITH MONITOR SERIAL

21                   #CCA63J0019580;

22             97)   TWO (2) BOSCH AQUA STAR TANKLESS GAS WATER HEATERS

23                   MODEL 125B NG;

24             98)   THREE (3) BOSCH AQUASTAR TANKLESS GAS WATER HEATER

25                   MODEL 250SXO MG;

26             99)   ROADMASTER PORTABLE BRAKING SYSTEM;


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 1             100)   DYSON VACUUM CLEANER MODEL DC14 SERIAL #229USA36815;

 2             101)   HP PAVILION PC MODEL A1253W-B SERIAL #MXF616041C;

 3             102)   DEWALT XRP COMBO KITS MODEL DC6KTGA;

 4             103)   TWO (2) DEWALT 18 VOLT 6 TOOL COMBO KITS MODELS DC6KTGA

 5                    AND DC6KITA;

 6             104)   DEWALT COMBO KIT MODEL DC6KITA;

 7             105)   EPSON POWER LITE 76C;

 8             106)   SONY CINEZA VIDEO PROJECTOR VPL-HS50/51;

 9             107)   BROTHER SE-270D SEWING & EMBROIDERY MACHINE SERIAL

10                    #C6G185242;

11             108)   DEWALT TOOK KIT MODEL DC4KITA;

12             109)   HP DIGITAL ENTERTAINMENT CENTER MODEL Z555 SERIAL

13                    #MXK513129B;

14             111)   PHILIPS MAGNAVOX WEB TV MODEL MAT972;

15             112)   MITSUBISHI DLP PROJECTOR MODEL#HC3000;

16             113)   MITSUBISHI PROJECTOR MODEL#HC3000;

17             114)   LASER BEACON MODEL LB-1 MODEL# 3900;

18             115)   TOPCON RT-5SA ROTATING LASER;

19             116)   STANLEY 165 PIECE TOOL SET;

20             117)   XANTREX INVERTER CHARGER FREEDOM 458 SERIAL #F00025945;

21             118)   GATEWAY PC SERIAL #1099876399;

22             119)   GARMIN GPS MAP SERIAL #70700456;

23             120)   GARMIN GPS MAP SYSTEM SERIAL #70700459;

24             121)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700481;

25             122)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800368;

26             123)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700033;


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 1             124)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700455;

 2             125)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800405;

 3             126)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800363;

 4             127)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800366;

 5             128)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800365;

 6             129)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70800364;

 7             130)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700460;

 8             131)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700035;

 9             132)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700036;

10             133)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700457;

11             134)   GARMIN GPS MAP SYSTEM MODEL#498 SERIAL #70700031;

12             135)   THREE (3) TOMTOM GO 300 GPS NAV SYSTEMS;

13             136)   SIX (6) GARMIN NUVI 350 PERSONAL TRAVEL ASSISTANTS;

14             137)   MAGELLAN ROADMATE 700 SERIAL #0102300403267;

15             138)   MAGELLAN ROADMATE 700 SERIAL #0102300378855;

16             139)   MAGELLAN ROADMATE 700 SERIAL #0102310201181;

17             140)   MAGELLAN ROADMATE 700;

18             141)   MAGELLAN ROADMATE 700 SERIAL #0102310452705;

19             142)   AUDIOVOX PERSONAL DVD PLAYER 8” SERIAL #4447602800;

20             143)   IC POWER     LCD MONITOR     WITH SPEAKERS 19” SERIAL

21                    #7550T1011124;

22             144)   KDS USA 17” LIQUID CRYSTAL DISPLAY SERIAL #F6E631222080U;

23             145)   PROVIEW 15” FLAT PANEL MONITOR SERIAL #F6TD63257576U;

24             146)   IN FOCUS PROJECTOR SERIAL #APRC529A1385;

25             147)   HITACHI LCD PROJECTOR SERIAL #CPS420WAT;

26             148)   HITACHI LCD PROJECTOR CPS420WA SERIAL #RT4H000608;


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 1             149)   PENTAIR POOL SPECTRUM AMERLITE;

 2             150)   INTERMATIC POOL AND SPA CONTROL;

 3             151)   PENTAIR CLEAN & CLEAR 50 CARTRIDGE FILTER;

 4             152)   LOWRANCE DASH GPS LMS-339C SERIAL #100575481;

 5             153)   MOBILE BRAND ENTERTAINMENT SYSTEM DVD 5.6” SERIAL

 6                    #M22300247;

 7             154)   FUNTV 5” MONITOR (VEHICLE) SERIAL #M28302438;

 8             155)   TWO (2) GARMIN WEST MARINE 76CS PLUS HANDHELD GPS

 9                    MODEL 6938666;

10             156)   THREE (3) AQUALINK JANDY VALVE ACTUATORS 4424;

11             157)   FOUR (4) JANDY HANDHELD REPLACEMENT KITS 8261;

12             158)   AT&T CORDLESS TELEPHONE SYSTEM 5.8GHZ;

13             159)   BOSE    WAVE     MUSIC      SYSTEM    MODEL     #AWRCC1        SERIAL

14                    #033975C52902076AC;

15             160)   TWO (2) SCIENTIFIC ATLANTA CONVERTER BOXES MODEL

16                    #8300HD;

17             161)   BOSE     CINEMATE      HOME        THEATER      SYSTEM         SERIAL

18                    #037487952650125AS;

19             162)   FOUR (4) MOTOROLA 2 WAY RADIOS MODEL HT1250-LS;

20             163)   DEWALT STEREO DC011 SERIAL #271340;

21             164)   HUSQVARNA CHAIN SAW MODEL#350-18;

22             165)   KDS     FLAT   PANEL        MONITOR     MODEL     #RAD-S       SERIAL

23                    #1540SBB34000827;

24             166)   NEC FLAT PANEL LCD 2010 SERIAL #02000992CA;

25             167)   NEC FLAT PANEL LCD 2010 SERIAL #0201022CA;

26             168)   NEC FLAT PANEL MONITOR LCD 2032 SERIAL #9700682CAR;


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 1             169)   POWERQUIP POWER WASHER SERIAL #T0306-123966;

 2             170)   HUSQVARNA SCANDINAVIA 200 SEWING MACHINE;

 3             171)   KYOCERA K-10 ROYALE MODEL CELL PHONE;

 4             172)   CYBERHOME DVD PLAYER IN BLACK BAG SERIAL #CHLDV700B;

 5             173)   TWO (2) JANDY POOL DIGITAL ASSISTANTS;

 6             174)   MINTEK MPD 1810 PORTABLE DVD PLAYER;

 7             175)   ACTRON AUTO SCANNER MODEL CP-9135;

 8             176)   TWENTY FIVE (25) NEW KITCHEN KNIVES IN PACKAGES VARIOUS

 9                    BRANDS;

10             177)   POLYCOM SOUND STATION MODEL 2W;

11             178)   BOX OF ASSORTED POOL/SPA ACCESSORIES;

12             179)   CANNONDALE MOUNTAIN BICYCLE JEKYLL 600 SERIAL

13                    #570158MA04020;

14             180)   MOTOBECANE MOUNTAIN BICYCLE MODEL 500DS SERIAL

15                    #0000206939;

16             181)   DEWALT CIRCULAR SAW SERIAL #46939;

17             182)   EASY RIZER MOTORCYCLE JACK SERIAL #QPL000022;

18             183)   MAGNAVOX       PORTABLE   DVD    PLAYER     MPD72O    SERIAL

19                    #LL000415051358;

20             184)   PORTER CABLE TOOL KIT;

21             185)   EMERSON DVR & DVD RECORDER & VCR SERIAL #D47517661A;

22             186)   EMERSON DVR & DVD RECORDER & VCR SERIAL #D46613556A;

23             187)   EMERSON DVR & DVD RECORDER & VCR SERIAL #D47517849A;

24             188)   HP 17” FLAT PANEL MONITOR SERIAL #CNC5372 85G;

25             189)   HP 17” FLAT PANEL MONITOR SERIAL #CNC 550 P7 L3;

26             190)   ACER 19” LCD MONITOR;


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 1             191)   HP PAVILION PC SERIAL #MXF61703KT;

 2             192)   IC POWER 19” LCD MONITOR W/SPEAKERS SERIAL #7550T1012056;

 3             193)   KDS 17” LCD MONITOR SERIAL #F6E163123763U;

 4             194)   BOSE LYFESTYLE 38 DVD HOME ENTERTAINMENT SYSTEM SERIAL

 5                    #034780941951372AS;

 6             195)   BOSE WAVE MUSIC SYSTEM SERIAL #03 397 6C5192 557 0AC;

 7             196)   BOSE WAVE MUSIC SYSTEM SERIAL #033 97 6C5192 556 9AC;

 8             197)   SAMSUNG 17” LCD MONITOR;

 9             198)   TWO (2) LACIE 321 COMPUTER MONITORS;

10             199)   TOSHIBA COMPUTER MONITOR;

11             200)   BOSE HOME ENTERTAINMENT SYSTEM SERIAL #4122951830289AS;

12             201)   TOM TOM PORTABLE GPS NAVIGATION SYSTEM;

13             202)   TOM TOM GPS NAVIGATION SYSTEM;

14             203)   TWO (2) DEWALT 18 VOLT 4-TOOL COMBO KITS;

15             204)   EMERSON DVD RECORDER & VCR COMBINATION;

16             205)   JVC FLAT SCREEN LCD TV MODEL #GM-H40L1G SERIAL #160C0133;

17             206)   BAG CONTAINING DVD PLAYER, MONITOR, CORDS SERIAL

18                    #M30300388 03015014;

19             207)   DYSON VACUUM CLEANER MODEL DCO7 SERIAL #180USA46532;

20             208)   PALOMA TANKLESS WATER HEATER MODEL PTG42PV;

21             209)   APPLE G5 POWER MAC SERIAL #G8534 6XURU2;

22             210)   HEWLETT PACKARD PAVILION A1483W PC SERIAL #MXF6160RG3;

23             211)   HEWLETT PACKARD PAVILION PC A1483W SERIAL #MXF61707Z8;

24             212)   HEWLETT PACKARD PAVILION PC A1483W;

25             213)   HEWLETT PACKARD PAVILION PC A1483W;

26             214)   HEWLETT PACKARD PAVILION PC A1483W;


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 1             215)   HEWLETT PACKARD PAVILION MEDIA CENTER M7463W SERIAL

 2                    #MXF61706W3;

 3             216)   COMPAQ PRESARIO PC MODEL SR1803WM SERIAL #CNH6140C3P;

 4             217)   EMACHINES MODEL W3118 DESKTOP PC;

 5             218)   EMACHINES MODEL W3118 DESKTOP PC SERIAL #CCA64M0030046;

 6             219)   HP PAVILION PC MODEL A1253W-B SERIAL#MXF61604N1;

 7             220)   MAGNAVOX       15”   LCD    TV   MODEL#       15WF605T   SERIAL   #

 8                    BZ2A0548282509;

 9             221)   IC POWER 15” FLAT PANEL MONITOR SERIAL # 7611TD010286;

10             222)   XBOX 360;

11             223)   POLARIS BOOSTER PUMP;

12             224)   GLOWBOUY POOL LIGHT TAG PRICE 199.99;

13             225)   MOTION SENSING SECURITY LIGHT JOURNEYMAN SERIES MODEL

14                    HD9260BZC;

15             226)   GARMIN GPS MONITOR AND MOUNT IN PELICAN CASE;

16             227)   BOSCH AQUASTAR TANKLESS GAS WATER HEATER MODEL #250

17                    SX LP;

18             228)   NINE (9) HAYWARD POOL PRODUCTS 4’ UNIVERSAL HOSE SET 10-

19                    PACK;

20             229)   OPTIX LED UNDERCAR KIT;

21             230)   STARVISION MULTIMEDIA DISC PLAYER DVD-5OT;

22             231)   UNIDEN 5.8GH CALLER ID CORDLESS PHONE ANSWERING

23                    MACHINE SET;

24             232)   DIESEL   AUDIO       LCD    MONITOR    WITH     RADIO    RECEIVER

25                    N5-7-MDASH;

26   ...


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 1             233)   VENTURER      TWIN   7”    DVD   BACKSEAT      THEATER       SERIAL

 2                    #HM210FD160742;

 3             234)   KONICA MINOLTA MAXXUN 5D DIGITAL CAMERA;

 4             235)   NORELCO 9160XL ELECTRIC RAZOR;

 5             236)   PORTFOLIO 48’ FLEXIBLE ROPE LIGHT;

 6             237)   NEXTEL BLACKBERRY 7520 SERIAL #400C4139BB;

 7             238)   PANASONIC 5.8GHZ PHONE MODEL KX-TG5423M SERIAL #

 8                    5HAXA042468;

 9             239)   AQUA-VU SCOUT SRT;

10             240)   JANDY HANDHELD POOL MONITOR;

11             241)   TRIKON CK KIT CAMERA TRIPOD;

12             242)   AMERICAN STANDARD ELITE THERMOSTATIC CONTROL TUB AND

13                    SHOWER SET;

14             243)   ORAL-B TRIUMPH ELECTRIC TOOTHBRUSH;

15             244)   POOLEYE POOL ALARM MONITORING KIT;

16             245)   INTERMATIC TIME SWITCH;

17             246)   TWO (2) INTERMATIC MODEL T101M TIME SWITCHES;

18             247)   TWO (2) JANDY POOL ACCESSORY KITS;

19             248)   THREE (3) LAARS WIRELESS CONTROL PANELS MODEL# 8227;

20             249)   QS BRAND AUTOMOTIVE DISC BRAKE PAD;

21             250)   BOSCH AQUASTAR TANKLESS GAS WATER HEATER MODEL

22                    #125BNG;

23             251)   FOUR (4) NATURE2 POOL PURIFIER CARTRIDGES;

24             252)   GOLDLINE WIRELESS POOL CONTROL DISPLAY;

25             253)   STARBUCKS BARISTA HOME ESPRESSO MACHINE;

26             254)   POLARIS 340 POWER TOOL;


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 1             255)   TWO (2) POLARIS HIGH REFLECTIVE POOL LIGHT REPLACEMENT

 2                    BULBS;

 3             256)   TWO (2) NAGRA V TWIN DRIVE POWER PACKS;

 4             257)   POOL PUMP;

 5             258)   FIVE (5) PRICE PFISTER FAUCETS MODEL #533-50BD;

 6             259)   NATURE2 NATURAL POOL PURIFIER;

 7             260)   GARMIN MODEL #60C COLOR MAP NAVIGATOR;

 8             261)   HAYWARD AUTOMATIC SKIM VAC PLATE MODEL #W491R;

 9             262)   HAYWARD DESERT WHT PROPULSION/CONVERSION;

10             263)   THREE (3) WATERPIK WIRELESS OUTDOOR J BOX KITS 8421;

11             264)   LIFESOURCE BLOOD PRESSURE MONITOR MODEL UA-787V;

12             265)   HAYWARD POOL AUTOMATIC AIR RELIEF MODEL #DEX2420AR;

13             266)   JANDY 7443 AQUALINK FOUR FUNCTION SPA SIDE SWITCH;

14             267)   JANDY PART NO R0441900 POOL PUMP;

15             268)   SYLVANIA WIRELESS VIDEO SYSTEM 2.4 GHZ;

16             269)   JANDY WATERPIK SPALINK SPA SIDE CONTROL;

17             270)   CANON GL-2 VIDEO CAMCORDER;

18             271)   TWO (2) JANDY SHEER DESCENT WATERFALLS 36” 1203003 SERIAL

19                    #203-3451 203-3444;

20             272)   JANDY SHEER DESCENT WATERFALL 24” SERIAL #202-3243;

21             273)   GOLDLINE POOL CONTROL BOX;

22             274)   HAYWARD POOL PUMP WITH HANDHELD POOL CONTROL MODEL#

23                    261;

24             275)   PUREX TRITON MULTI-PORT SWIMMING POOL SYSTEM MODEL#

25                    261142;

26             276)   TWO (2) GOLDLINE TURBO CELLS 15;


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 1               277)   CANON DVD CAMCORDER SERIAL #452090122340;

 2               278)   JBL SPEAKER SERIAL #J204-039615;

 3               279)   JBL SPEAKER SERIAL #J204-041648;

 4               280)   SAMSUNG     PLASMA         TV   MODEL       #SP-R4232         SERIAL

 5                      #39YF3CMYC01244J;

 6               281)   INFOCUS PROJECTOR IN BLACK ROLLING BAG SERIAL

 7                      #ANDC51701464;

 8               282)   DELL PROJECTOR MODEL# 330MP IN BLACK CASE;

 9               283)   CANON PROJECTOR SX60 IN CASE;

10               284)   JURA IMPRESSA 25 CAPUCCINO MAKER;

11               285)   MINTEK PORTABLE DVD PLAYER MODEL# MDP1020;

12               286)   BOSE    ACOUSTIC       WAVE       MUSIC      SYSTEM       SERIAL

13                      #023583C21920329AC;

14               287)   DELL FLAT PANEL MONITOR SERIAL #11SDH41;

15               288)   DELL FLAT PANEL MONITOR MODEL # E171FPB;

16               289)   DELL PRINTER COPIER COMBO SERIAL #BFC7Z41;

17               290)   SHARP FLAT SCREEN TV SERIAL # 018097;

18               291)   APPLE FLAT PANEL MONITOR SERIAL #N54023C2NAF;

19               292)   NEC FLAT PANEL MONITOR SERIAL #8800295 CAR;

20               293)   DELL FLAT PANEL MONITOR SERIAL # CN-0T6116-71618-4AG- AEC2;

21                      and

22               294)   SAMSUNG FLAT PANEL MONITOR MODEL# 193PS, SERIAL

23                      #DI19HSHY100227K.

24         (i)   BLUE 1998 BOAT TRAILER, CALIFORNIA LICENSE PLATE 4FW7275, VIN:

25               1MDDWYM11WA971743, 5DBBB30383R000041;

26   ...


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 1        (j)   THE CONTENTS OF THE STORAGE UNIT #207 LOCATED AT ALL STORAGE

 2              LAS VEGAS, 3290 NORTH RANCHO DRIVE, LAS VEGAS, NEVADA:

 3              1)    NIGHT VISION GOGGLES WITH BATTERIES IN BAG SERIAL #12145;

 4              2)    DYSON DCO7 VACUUM CLEANER SERIAL #180-US-A46773;

 5              3)    PLAYSTATION 2 GAME SYSTEM SERIAL #PT630819355;

 6              4)    PLAYSTATION 2 GAME SYSTEM SERIAL #PT414092097;

 7              5)    DEWALT PALM SANDER SERIAL #974762;

 8              6)    DEWALT RECIPROCATING SAW SERIAL #760840;

 9              7)    MILWAUKEE DEEP CUT EJ2JD SAW SERIAL #769-F405150252;

10              8)    TWENTY-SIX (26) EDELBROCK ELECTRIC CHOKE KITS;

11              9)    EDELBROCK STEEL FUEL LINE;

12              10)   FORTY-FOUR (44) EDELBROCK ELECTRIC CHOKE KITS;

13              11)   THREE (3) PRO TAPER HANDLE BAR CLAMPS;

14              12)   FOURTEEN (14) PRO TAPER HANDLE BARS;

15              13)   LIFESTREAM CHOLESTEROL MONITOR;

16              14)   SIX (6) NIKE GOLF BALL SETS;

17              15)   NINE (9) EDELBROCK FUEL LINE KITS;

18              16)   PETSAFE DOG COLLAR;

19              17)   TWO (2) SYLVANIA LIGHT BULBS;

20              18)   DYSON VACUUM DC 14SY SERIAL #228-US-A-35785;

21              19)   DYSON VACUUM DC 14SY SERIAL #228 -US -A-2 0628 ;

22              20)   DYSON VACUUM DC 14SY SERIAL #179-US - B -51280;

23              21)   DYSON VACUUM DC 14SY SERIAL #228-US-A-20652;

24              22)   DYSON DC 07SLA-TT;

25              23)   TEN (10) VECTOR POWER INVERTER MODEL #VECO51D;

26              24)   SINGER SEWING MACHINE MODEL #145H654;


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 1             25)   KITCHEN      AID    PROFESSIONAL           MIXER       SERIAL

 2                   #KV25GOX-WR5066-177;

 3             26)   KITCHEN AID MIXER SERIAL #KN15E1X-WR4262719;

 4             27)   DEWALT HAMMERDRILL MODEL #DC9881A;

 5             28)   DEWALT CORDLESS DRIVER MODEL #DW056K-2;

 6             29)   SCOOBA FLOOR WASHING ROBOT MODEL #5900;

 7             30)   INFOCUS PROJECTOR SERIAL #ANQN44000G15;

 8             31)   THIRTEEN (13) MSD IGNITION PRODUCTS COIL FORD;

 9             32)   TWO (2) MSD IGNITION PRODUCTS COIL GM EXTERNAL;

10             33)   TEN (10) MSD IGNITION BLASTERS 2 COIL;

11             34)   MILWAUKEE 1 3/4” ROTARY HAMMER SERIAL #5346-21;

12             35)   MILWAUKEE ½” HOLEHAWG DRILL SERIAL #1675-6;

13             36)   MILWAUKEE SAWZALL KIT SERIAL #6519- 22;

14             37)   LINCOLN ELECTRIC PORT-A-TORCH SERIAL #KH6 57;

15             38)   IPOD 30GB SERIAL #JQ5110TTSAY;

16             39)   IPOD 30GB SERIAL #JQ5118SLSAY;

17             40)   IPOD 30GB SERIAL #JQ5112NDSAY;

18             41)   IPOD 30GB SERIAL #JQ5115WMSAY;

19             42)   IPOD 30GB SERIAL #JQ5110JSSAY;

20             43)   IPOD 30GB SERIAL #JQ5112S2SAY;

21             44)   IPOD 30GB SERIAL #JQ5110CRSAY;

22             45)   IPOD 30GB SERIAL #JQ5110FFSAY;

23             46)   IPOD 30GB SERIAL #JQ5112UESAY;

24             47)   IPOD 30GB SERIAL #4U5092TCSAY;

25             48)   IPOD 30GB SERIAL #JQ5110QHSAY;

26             49)   IPOD 30GB SERIAL #JQ5110LUSAY;


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 1             50)   IPOD 30GB SERIAL #JQ5112PASAY;

 2             51)   IPOD 30GB SERIAL #JQ51102QSAY;

 3             52)   IPOD 30GB SERIAL #JQ5101TM8SAY;

 4             53)   IPOD 30GB SERIAL #JQ5110C7SAY;

 5             54)   IPOD 30GB SERIAL #JQ5112M4SAY;

 6             55)   IPOD 30GB SERIAL #JQ5110U5SAY;

 7             56)   IPOD 30GB SERIAL #JQ51106GSAY;

 8             57)   IPOD 30GB SERIAL #JQ5110JRSAY;

 9             58)   IPOD 30GB SERIAL #JQ50788XSAY;

10             59)   IPOD 30GB SERIAL #JQ5111AASAY;

11             60)   IPOD 30GB SERIAL #JQ5119CSSAY;

12             61)   IPOD 30GB SERIAL #JQ5112PHSAY;

13             62)   IPOD 30GB SERIAL #JQ5110TQSAY;

14             63)   DYSON VACUUM MODEL #DC O7SY-BC SERIAL #110-US-G-46710;

15             64)   DOLPHIN ROBOTIC POOL CLEANING SYSTEM MODEL #84290;

16             65)   HP PAVILION PC AND MONITOR MODEL #A1253W-B;

17             66)   PASLODE CORDLESS NAILER 16 GA SERIAL #0602ST0144B;

18             67)   DEWALT CORDLESS DRIVER MODEL #DW056K-2;

19             68)   DEWALT HEAVY DUTY DEMO HAMMER MODEL #D25900K;

20             69)   DEWALT ½” CORDLESS COMPACT DRILL DRIVER MODEL

21                   #DC75KA;

22             70)   TWO (2) BOE-BOT ROBOT KITS MODEL #28132;

23             71)   TWO (2) GPS MAP 398-GARMINS;

24             72)   OLEVIA LCD MULTI MEDIA DISPLAY SERIAL #LT26EKM;

25             73)   SANYO LCD TV 20” SERIAL #CLT2054;

26             74)   TWELVE (12) OMRON HEART RATE MONITORS MODEL #HR-100C;


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 1             75)   TWO (2) OMRON WRIST BLOOD PRESSURE MONITORS MODEL

 2                   #HEM-637;

 3             76)   TWO (2) DLO TRANS POD ALL IN ONE CAR SOLUTION IPODS;

 4             77)   TWO (2) SONY CYBERSHOTS MODEL #DSC-N1;

 5             78)   FOUR (4) CLEAR BLUE EASY FERTILITY MONITORS;

 6             79)   FOUR (4) GPS MAP 76 CX-COLOR MAP NAVIGATORS;

 7             80)   HARMONY ADVANCED UNIVERSAL REMOTE 890;

 8             81)   SPRINT BLACKBERRY MODEL #RAR20CN;

 9             82)   LIFESTREAM PLUS 3 MINUTE CHOLESTEROL MONITOR;

10             83)   CANOBD2-INNOVA3110;

11             84)   ADOBE PHOTOSHOP ELEMENTS 4.0;

12             85)   INNOTEK DIGITAL ADVANCED TRAINER FOR DOGS;

13             86)   TWO (2) HARMONY ADVANCED REMOTES 520;

14             87)   OBD2 CODEREADER INNOVA 3100C;

15             88)   VIVERA HP INKS 95.97;

16             89)   SEASON SIX, DVD, SEX AND THE CITY;

17             90)   GAMEBOY ADVANCE SP;

18             91)   THREE (3) WESTERN DIGITAL HARD DRIVES 60GB SERIAL

19                   #WD600U017;

20             92)   GARMIN ETREX VISTA HIKING COMPANION;

21             93)   WALGREENS DELUXE WRIST BLOOD PRESSURE MONITOR SERIAL

22                   #313W;

23             94)   TWO (2) TEXAS INSTRUMENTS ADVANCED GRAPHING TI-89

24                   TITANIUMS;

25             95)   HARMONY ADVANCED UNIVERSAL REMOTE 880;

26             96)   CRUZER MINI USB FLASH DRIVE 1.0GB;


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 1             97)    HP PHOTOSMART MODEL #M-417 SERIAL #CN56E35PW8;

 2             98)    DIGITAL MULTIMETER FLUKE MODEL #73-111 SERIAL #90240039;

 3             99)    HP REMOTE SERIAL #Q6400-6002;

 4             100)   FOUR (4) PETSAFE IN-GROUND FENCE SERIAL #PIG00-10673;

 5             101)   TWO (2) PETSAFE DELUXE IN-GROUND FENCE SERIAL #PIG 00-1074;

 6             102)   HARMONY UNIVERSAL REMOTE 720;

 7             103)   PETSAFE BARK CONTROL SERIAL #PBC00-10677;

 8             104)   MICROSOFT OFFICE STUDENT TEACHER EDITION 2003;

 9             105)   DELPHI XTM SATELLITE RADIO;

10             106)   DEWALT 14.4 VOLT 4 TOOL COMBO MODEL #DDSRLCPI;

11             107)   NIGHT VISION SERIAL #72223;

12             108)   DYSON MODEL #DC14SL-ANI SERIAL #175-US-E46806;

13             109)   PETSAFE BIG DOG REMOTE TRAINER;

14             110)   TWO (2) DEWALT COMBO TOOL KITS MODEL #DC4KITA;

15             111)   RICCAR AMERICA VACUUM 8955 SERIAL #4C0046220;

16             112)   RICCAR RADIANCE MODEL #RAD SERIAL #4C0004771;

17             113)   MAGNAVOX 15” LCD MONITOR MODEL #15MF400T/37;

18             114)   SIX (6) BOXES DOZEN NIKE ONE GOLFBALLS;

19             115)   BOX DOZEN NIKE ONE GOLFBALLS;

20             116)   TWENTY-THREE (23) MSD IGNITION PRODUCTS COIL GM

21                    EXTERNAL PART #8226;

22             117)   PELICAN CASE WITH COMMERCIAL LIGHTING EQUIP., 4 LIGHTS

23                    AND MISC. CORDS;

24             118)   BLUE TRUNK CONTAINING COMMERCIAL LIGHTING EQUIPMENT;

25             119)   PETSAFE BARK CONTROL;

26   ...


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 1             120)   TWENTY-SIX (26) ACTRON POCKET SCANS IN PLASTIC CONTAINER

 2                    MODEL #CP9125;

 3             121)   ACTRON AUTO SCANNER MODEL #CP9135 SERIAL # 238690;

 4             122)   THREE (3) ACTRON SUPER AUTO SCANNERS IN BLUE LID PLASTIC

 5                    BOX;

 6             123)   DYSON DC14 VACUUM SERIAL #230-US-A-32794;

 7             124)   DYSON DC14 VACUUM SERIAL #175-US-D-85988;

 8             125)   DYSON DC14 VACUUM SERIAL #229-US-A-36846;

 9             126)   DYSON DC14 VACUUM SERIAL #229-US-A-36842;

10             127)   DYSON DC15 VACUUM SERIAL #190-US-B-42190;

11             128)   DYSON DC15 VACUUM SERIAL #190-US-B-42 186;

12             129)   DYSON DC15 VACUUM SERIAL #190-US-B-13487;

13             130)   IN FOCUS PROJECTOR SERIAL #APRC529A0253;

14             131)   COMPAQ PRESARIO MODEL #SR1803WM SERIAL # CNH6091SB7;

15             132)   COMPAQ PRESARIO MODEL #SR1803WM SERIAL # CNH6091SB4;

16             133)   WHITE’S MXT TRACKER METAL DETECTOR;

17             134)   RICCAR RADIANCE VACUUM CLEANER IN BOX;

18             135)   RICCAR RADIANCE VACUUM CLEANER IN BOX;

19             136)   DELL OPTIPLEX DESKTOP CPU MODEL #GX260 SERIAL # DJNP821;

20             137)   DEWALT TOOL COMBO KIT MODEL #DDSRLCP1;

21             138)   HP PAVILION PC MODEL #A1473W SERIAL #MXK6160SPW;

22             139)   SCOOBA IROBOT FLOOR WASHING ROBOT;

23             140)   SIX (6) SIX FLAGS BANZAI FALLS WATER SLIDES;

24             141)   BOSCH BLUE CORE POWER DRILL SERIAL #584009635;

25             142)   LINCOLN ELECTRIC 3200 HD WELD PAX SERIAL #M2060104307;

26             143)   MIDTRONICS ELECTRONIC BATTERY TESTER SERIAL #0904260075;


                                         64
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 1             144)   EDELBROCK 1478 ELECTRONIC CHOKE KIT ;

 2             145)   SINGER CE-100 SEWING MACHINE SERIAL #155-1698;

 3             146)   SINGER CE-100 SEWING MACHINE SERIAL #154-1677;

 4             147)   SINGER CE-100 SEWING FUTURA SERIAL #153-1668;

 5             148)   WHITE’S MXT METAL DETECTOR;

 6             149)   WHITE’S MXT METAL DETECTOR;

 7             150)   MAGNAVOX 15” LCD TV MODEL #15MF400T/37;

 8             151)   BLAUPUNKT IN CAR VIDEO MONITOR SERIAL #CHICAGO

 9                    IVDM-7002;

10             152)   CRAFTSMAN ANGLE FRAMING NAILER MODEL #18179;

11             153)   CRAFTSMAN 348 PIECE MECHANICS TOOL SET;

12             154)   IROBOT ROOMBA SCHEDULER VACUUM MODEL #4230;

13             155)   DEWALT 12” SINGLE BEVELED, HEAVY DUTY COMPOUND MITER

14                    SAW MODEL #DW715;

15             156)   HP PAVILION PC WITH MONITOR MODEL #A1243W SERIAL

16                    #CNH6030W49;

17             157)   HP PAVILION PC WITH MONITOR MODEL #A1243W SERIAL

18                    #CNH6021DTZ;

19             158)   HP PHOTOSMART 425V SERIAL #CN56Q171C7;

20             159)   FOUR (4) GARMIN GPS MAPS 76CX;

21             160)   CANON MOD EP COMPUTER PRINTER CARTRIDGE;

22             161)   CANON POWER SHOT DIGITAL CAMERA MODEL #A520 SERIAL

23                    #9715A001;

24             162)   BRAUN SYNCO SYSTEM 7000 SERIES;

25             163)   WESTERN DIGITAL EXTERNAL HD, 160 GB;

26             164)   MAXTOR 300GB HD SERIAL #L61G93RH;


                                          65
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 1             165)   PANASONIC DIGITAL CORDLESS ANSWERING SYSTEM SERIAL

 2                    #KX-T5633B;

 3             166)   IROBOT ROOMBA DISCOVERY;

 4             167)   SINGER SEWING MACHINE MODEL #CE100 SERIAL #155-1698;

 5             168)   HAYWARD POOL VAC ULTRA SERIAL #309D-013 112;

 6             169)   HAYWARD POOL VAC SERIAL #303D-374497;

 7             170)   HAYWARD POOL VAC SERIAL #303D-374500;

 8             171)   HAYWARD POOL VAC SERIAL #303D-374493;

 9             172)   HAYWARD POOL VAC SERIAL #309D-013226;

10             173)   HAYWARD POOL VAC ULTRA SERIAL #303D-374491;

11             174)   TWO (2) PHILIPS SONICARE TOOTHBRUSH CREST INTELLI-CLEAN

12                    SYSTEMS;

13             175)   CREATIVE ZEN MICRO MPS PLAYER SERIAL #M1PF1080506033829Q;

14             176)   CREATIVE ZEN MICRO MPS PLAYER SERIAL #M1PF1080506017963W;

15             177)   OMRON PORTABLE BLOOD PRESSURE WRIST MONITOR MODEL

16                    #HEM-629;

17             178)   OMRON WRIST BLOOD PRESSURE MONITOR MODEL # HEM-637;

18             179)   PETSAFE DELUXE REMOTE DOG TRAINER;

19             180)   FIVE (5) CLEAR BLUE EASY FERTILITY MONITOR;

20             181)   GARMIN GPS MAP 76X COLOR MAP NAVIGATOR;

21             182)   XBOX 360 WIRELESS NETWORK ADAPTOR;

22             183)   TWO (2) XBOX 360 WIRELESS CONTROLLER;

23             184)   PETSAFE BIG DOG REMOTE TRAINER;

24             185)   PETSAFE LITTLE DOG REMOTE TRAINER;

25             186)   WESTERN DIGITAL EXTERNAL HD 250 GB MODEL #WD2S00C032;

26             187)   PETSAFE BARK CONTROL;


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 1             188)   TEXAS INSTRUMENTS Ti 89 TITANIUM ADVANCED GRAPHING

 2                    CALCULATOR;

 3             189)   SONY PSP PLAYSTATION PORTABLE;

 4             190)   TWO (2) MICROSOFT OFFICE 2003 STUDENT TEACHER EDITION;

 5             191)   HUSQVARNA VIKING DESIGNER SEWING MACHINE;

 6             192)   HUSQVARNA VIKING DESIGNER SEWING MACHINE;

 7             193)   XBOX 360 WIRELESS NETWORK ADAPTER;

 8             194)   TETRATIC COMPACT AQUARIUM FILTER;

 9             195)   LIFESTREAM CHOLESTEROL MONITOR;

10             196)   PSP MADDEN GAME;

11             197)   EDELBROOK FUEL LINE ACCESSORY;

12             198)   ROGAINE FOR MEN;

13             199)   PETSAFE COLLARLESS TRAINER;

14             200)   DELL FLOPPY DRIVE;

15             201)   TWO (2) BRAUN 7000 SERIES REPLACEMENT FOILS;

16             202)   DRIVE RIGHT CAR CHIP;

17             203)   AUTOXRAY EZ ROAD 2000 SERIAL #P/N 705-000I-002A;

18             204)   AUTOXRAY CODESCOUT;

19             205)   ADD-A-LINK (PETSAFE) FOR DOGS;

20             206)   HP PHOTOSMART 420 SERIES MANUAL;

21             207)   MISC OBD-1I ATTACHMENT/CONNECTOR;

22             208)   LG FLATON 19" LCD MONITOR MODEL #L19505-SN;

23             209)   SURVEY RULES IN RED CASE;

24             210)   DEDOLIGHT LIGHTING EQUIPMENT IN BLACK CASE;

25             211)   KODAK PICTURE MAKER CONSOLE SERIAL #SCUA1273;

26             212)   SIX (6) FOX RACING PANTS;


                                           67
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 1             213)   ELEVEN (11) FOX RACING LONG SLEEVE JERSEYS;

 2             214)   NINE (9) FOX RACING SWEATSHIRTS;

 3             215)   FOX RACING CHEST PROTECTOR (RED);

 4             216)   KODAK EASY SHARE PHOTO PRINTER MODEL C310;

 5             217)   FORTY-SIX (46) PETSAFE TRAINING COLLARS;

 6             218)   THREE (3) PETSAFE IN-GROUND FENCES;

 7             219)   PETSAFE TRAINER;

 8             220)   HP PHOTOSMART SCRAPBOOK PHOTO STUDIO;

 9             221)   NINE (9) FOX RACING AND KBC HELMETS;

10             222)   THIRTEEN (13) RACING GOGGLES;

11             223)   WHITE TRASH CAN;

12             224)   LIFESTREAM 3 MINUTE CHOLESTEROL MONITOR;

13             225)   KORG CONCERT PIANO C-45;

14             226)   DYSON VACUUM DC14;

15             227)   DYSON VACUUM DC14;

16             228)   DYSON VACUUM DC15;

17             229)   FIVE (5) MILWAUKEE 4-PACK COMBO KITS MODEL #0928-29;

18             230)   FOURTEEN (14) DEWALT 18V 6 TOOL COMBO KITS;

19             231)   NINE (9) SEX IN THE CITY 20 DISC SEASON BOX SETS;

20             232)   BISSELL PROHEAT 2X UPRIGHT CLEANER;

21             233)   RICAR AMERICA VACUUM 8955;

22             234)   HOOVER Z-400 UPRIGHT VACUUM;

23             235)   PHOENIX GOLD 1000 DUAL 12” TOTAL BASS PACKAGE;

24             236)   COLEMAN POWERMATE PORTABLE ELECTRIC GENERATOR;

25             237)   FIVE (5) PALOMA TANKLESS GAS WATER HEATERS;

26             238)   DEWALT 18V 6 TOOL MODEL #DC6KITA;


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 1             239)   DEWALT 18V 6 TOOL COMBO KIT MODEL #DC6KTGA;

 2             240)   DEWALT 18V 6 TOOL COMBO KIT MODEL #DCGKITA;

 3             241)   KITCHEN AID PROFESSIONAL 600 MIXER;

 4             242)   LOGITECH Z-5000 COMPUTER SPEAKERS;

 5             243)   IMPRESSA S9 COFFEE MACHINE MODEL #13171;

 6             244)   IMPRESSA S9 COFFEE MACHINE MODEL #13215;

 7             245)   IMPRESSA S9 COFFEE MACHINE MODEL #13215;

 8             246)   IMPRESSA S9 COFFEE MACHINE MODEL #13171;

 9             247)   IMPRESSA S9 COFFEE MACHINE MODEL #13215;

10             248)   MAGNUM AIRLESS PAINT APPL. MODEL #XR9;

11             249)   COMPUTER HP PAVILION PC SERIAL #AI357C-B;

12             250)   MAKITA TOOL COMBO KIT MODEL #LXT401;

13             251)   MAKITA TOOL COMBO KIT MODEL #LXT400;

14             252)   MAKITA TOOL COMBO KIT MODEL #LXT401;

15             253)   SINGER SEWING MACHINE MODEL #7436;

16             254)   DEWALT 18VOLT 6 TOOL KIT MODEL #DC6KTGA;

17             255)   DEWALT 18VOLT 6 TOOL KIT MODEL #DC6KTGA;

18             256)   DEWALT RIGHT ANGLE DRILL MODEL #DW96OK-2;

19             257)   DEWALT 18VOLT DRILL MODEL #DW056K-2;

20             258)   DEWALT CORDLESS IMPACT DRIVER KIT MODEL #DW054K-2;

21             259)   DEWALT CORDLESS DRILL DRIVER KIT MODEL #DC987KA;

22             260)   DEWALT 18VOLT COMBO KIT MODEL #DDSLCP1;

23             261)   DEWALT 18VOLT ANGLED NAILER KIT MODEL #DC618KA;

24             262)   MILWAUKEE CIRCULAR SAW MODEL #6390-21;

25             263)   LINCOLN ELECTRIC GAS CUTTING AND WELDING;

26             264)   DEWALT DOUBLE COMP MITER SET MODEL #DW716;


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 1             265)   SIX (6) AQUA STAR TANKLESS GAS WATER HEATERS MODEL

 2                    #250SX0 LP;

 3             266)   THREE (3) AQUA STAR TANKLESS GAS WATER HEATERS MODEL

 4                    #125BNG;

 5             267)   FOUR (4) AQUA STAR TANKLESS GAS WATER HEATERS MODEL

 6                    #250SX0 NG;

 7             268)   LASER MARK LASER PACKAGE MODEL #LM30PKG;

 8             269)   PORTER CABLE BELT SANDER MODEL #362VSK;

 9             270)   BANZAI FALLS SPEED SLIDE;

10             271)   MILWAUKEE 18VOLT SAWZALL MODEL #6515-27;

11             272)   LAWRENCE GPS MODEL #337CDF SERIAL #100357968;

12             273)   OLYMPUS IMAGELINK CAMERA AND PRINTER MODEL #Z25680;

13             274)   AUTO XRAY SCAN 5000 MODEL #EZ SCAN 5000;

14             275)   MILWAUKEE CIRCULAR SAW MODEL #6390-21;

15             276)   UNIVERSAL TANKLESS WATER HEATER VENT KIT MODEL

16                    #RTG-20007;

17             277)   BOSCH 18VOLT DRILL DRIVER MODEL #33618-2Z;

18             278)   PANASONIC       CORDLESS     ANSWERING        SYSTEM        MODEL

19                    #KX-TG5433M;

20             279)   ROOMBA SCHEDULER FLOOR VAC;

21             280)   DEWALT CORDLESS JIGSAW KIT MODEL #DC330K;

22             281)   MILWAUKEE DRILL PRESS MODEL #4270-20;

23             282)   DEWALT IMPACT CORDLESS DRIVER MODEL #DW056K-2;

24             283)   DEWALT OMMER DRILL KIT MODEL #DW515K;

25             284)   MILWAUKEE DEMO HAMMER MODEL #5339-21;

26             285)   DEWALT HAMMER DRILL KIT MODEL #DC989KA;


                                           70
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 1             286)   GARMIN GPS MAP - MODEL #76CX;

 2             287)   KODAK EZ SHARE DIGITAL PHOTO MODEL #2740;

 3             288)   EMACHINE DESKTOP PC AND MONITOR MODEL #W3107;

 4             289)   BRAUN SYNCRO SYSTEM SHAVER MODEL #7000;

 5             290)   SPECTRA PRECISION LAZER MODEL #LL400;

 6             291)   PASLODE CORDLESS FRAMING NAILER MODEL #9004200;

 7             292)   DEWALT CORDLESS DRILL DRIVER KIT MODEL #DC987KA;

 8             293)   TWO (2) DEWALT ELECTRIC TOOL KITS IN BLACK CASE;

 9             294)   THREE (3) CASIO EXILIM DIGITAL CAMERAS MODEL #EX-Z120CP;

10             295)   TWO (2) INTEL CELERON PROCESSOR MODEL #850323;

11             296)   THIRTY TWO (32) SEX AND THE CITY DVDS;

12             297)   FIVE (5) OZ DVDS;

13             298)   FIVE (5) SOPRANOS DVD;

14             299)   PHILLIPS NORELCO SHAVER MODEL #9160XL;

15             300)   DEADWOOD DVD;

16             301)   CANON REBEL XT DIGITAL CAMERA MODEL #EF-S 18-55;

17             302)   DARK INVADER NIGHT VISION ULTRA OWL SERIAL #9049;

18             303)   VU GO MULTIMEDIA SYSTEM;

19             304)   MISC. CAMERA EQUIPMENT IN GRAY BOX;

20             305)   HAYWARD POOL ELECTRONIC CHLORINE GENERATOR;

21             306)   HP PHOTOSMART 420 SERIAL # CN56R140R6;

22             307)   HP PAVILION MEDIA CTR TV PC AND MONITOR MODEL #F2105;

23             308)   TWENTY-TWO (22) VITAMIN BOTTLES IN BLACK TRASHBAG;

24             309)   VARIOUS VEHICLE CHECKING DEVICES;

25             310)   NINE (9) MSD IGNITIONS IN WHITE AND BLUE BOX PART #8225;

26             311)   FORTY (40) MSD IGNITIONS IN GREY BOX;


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 1             312)   BOSCH WELDING KIT MODEL #27225;

 2             313)   LINCOLN ELECTRIC ANTI SPATTER SPRAY;

 3             314)   LINCOLN ELECTRIC BRAZING FLUX;

 4             315)   GPS ANTENNA;

 5             316)   EMBROIDERY SEWING MACHINE SERIAL #957163112;

 6             317)   DEWALT CORDLESS 18 VOLT 4-TOOL COMBO TOOL KIT MODEL #

 7                    DC4KITA;

 8             318)   POLAROID DVD RECORDER MODEL #DRM42001G;

 9             319)   POLAROID DVD RECORDER MODEL #DMR2002G;

10             320)   DCLCD 19” LCD MONITOR SERIAL #549RC901AA2418;

11             321)   PENTAIR POOL SAL SPECTRUM AQUALITE SPA LITE;

12             322)   DEWALT 18 VOLT 4 -TOOL COMBO KIT MODEL DC4KITA;

13             323)   PHILIPS SOTICARE TOOTHBRUSH;

14             324)   BOOST MOBILE WALKIE TALKIE MODEL #1855;

15             325)   MILWAUKEE 4-PACK COMBO TOOL KIT MODEL #092829;

16             326)   MILWAUKEE 4-PACK COMBO TOOL KIT;

17             327)   MILWAUKEE 4-PACK COMBO KIT;

18             328)   MILWAUKEE 4-PACK COMBO KIT;

19             329)   MILWAUKEE 4-PACK COMBO TOOL KIT MODEL #0923-29;

20             330)   VOCOPRO BRAVO DIGITAL KARAOKE MODEL #111693;

21             331)   THREE (3) 18 VOLT COMBO TOOL KITS MODEL #DC4KITA;

22             332)   FOUR (4) DEWALT 18 VOLT TOOL COMBO KITS;

23             333)   SIX (6) DEWALT 18 VOLT 4 PIECE COMBO KITS;

24             334)   SIX (6) MILWAUKEE 4 PACK COMBO KITS MODEL # 0928-29;

25             335)   DYSON VACUUM CLEANER MODEL #DCI4 SY;

26             336)   DYSON VACUUM CLEANER MODEL #DC14SL-ANI;


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 1             337)   BERNINA DECO 330;

 2             338)   PIONEER DVD RECORDER MODEL #531H-S;

 3             339)   COMPAQ TURION 64 PRESARIO MODEL V5015                  SERIAL

 4                    #CND6061599;

 5             340)   RCA DVD RECORDER & VCR SERIAL #602301376;

 6             341)   MILWAUKEE 4 PIECE COMBO KIT MODEL #0923-29;

 7             342)   IMAC G5 20 INCH WIDESCREEN COMPUTER SERIAL # QP60419BTAR;

 8             343)   SHARP MULTIMEDIA DLP PROJECTOR MODEL #XR-lOX;

 9             344)   SIX (6) MAKITA 18 PIECE CORDLESS COMBO KITS MODEL #LXT401;

10             345)   BROTHER DISNEY SEWING MACHINE MODEL SE270D;

11             346)   DOLPHIN DELUXE POOL VACUUM;

12             347)   PANASONIC 31.5 INCH LCD TV, TC-32LX50 SERIAL #MG5610112;

13             348)   JURA CAPRESSO IMPRESSA ZMATT COFFEE DISPENSER MODEL

14                    #13214;

15             349)   SEVEN (7) BROTHER DISNEY SEWING MACHINE MODEL SE270D;

16             350)   PROVIEW 19” WIDE LCD MONITOR SERIAL #F0SD63068207U;

17             351)   PROVIEW 19” LCD MONITOR SERIAL #F0SD62128273U;

18             352)   PROVIEW 19" LCD MONITOR SERIAL #F0SD62026460U;

19             353)   PROVIEW 19” LCD MONITOR SERIAL #F0SD62 129 191U;

20             354)   SONY MFM-HT95 19” LCD TV MONITOR;

21             355)   DEWALT HEAVY DUTY COMBO KIT MODEL#DW618B3E SERIAL

22                    #919681;

23             356)   TWO (2) SCUUBA FLOOR WASHING ROBOTS;

24             357)   DEWALT HEAVY DUTY 18 VOLT COMBO KIT MODEL DDSLCP1;

25             358)   DEWALT 14.4 VOLT 4 TOOL COMBO KIT MODEL DDSRLCP1;

26             359)   DEWALT 18 V 4 TOOL COMBO KIT MODEL DDSCL2;


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 1             360)   ECHO GAS POWER BLOWER MODEL PB-260L;

 2             361)   EMERSON DVR/DVD RECORDER & VCR MODEL #EWH100F SERIAL

 3                    #D46611062A;

 4             362)   EMERSON DVR/DVD RECORDER & VCR MODEL #SWH100F SERIAL

 5                    #246511061A;

 6             363)   EMERSON DVR/DVD RECORDER & VCR MODEL #EWH100F SERIAL

 7                    #D46511269A;

 8             364)   EMERSON DVD RECORDER & VCR MODEL #EWH100F SERIAL

 9                    #D46511043A;

10             365)   IC POWER 19” LCD MONITOR W/SPEAKERS MODEL #CM2019

11                    SERIAL #7550T1009011;

12             366)   THREE (3) ROOMBA SCHEDULER ROBOTIC FLOOR VACS MODEL

13                    #4230;

14             367)   ROOMBA DISCOVERY ROBOTIC VACUUM MODEL #4210;

15             368)   DEWALT 18V FINISH NAILER KIT MODEL #DC618KA;

16             369)   DEWALT 18 VOLT 3 TOOL COMBO KIT DW959KSR-2;

17             370)   KDS USA 17” LCD MONITOR MODEL K717 SERIAL # F6E158038401U;

18             371)   TOSHIBA SATELITE INTEL MODEL #A55-S1064;

19             372)   HP PAVILION MODEL # DV4223C1 SERIAL #2CE5390R4K;

20             373)   COMPAQ PRESARIO PC MODEL #SR1703WN SERIAL #CNH6040124;

21             374)   SONY VAIO PERSONAL COMPUTER MODEL FJ270\B;

22             375)   SONY VAIO PERSONAL COMPUTER FS840\W;

23             376)   SONY VAIO PERSONAL COMPUTER FJ270\B;

24             377)   MILWAUKEE 4 TOOL COMBO KIT MODEL 0923-29;

25             378)   KODAK EASYSHARE PHOTO PRINTER KIT SERIAL #KCLEG54930558;

26             379)   EMACHINES DESKTOP PC MODEL #W3118 SERIAL #CT864M003011;


                                          74
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 1             380)   TROYBILT       PRESSURE   WASHER    MODEL     #020245      SERIAL

 2                    #1012535224;

 3             381)   MAXEN 26 WIDESCREEN LCD TV MODEL L2614XW02L SERIAL

 4                    #53125S02457;

 5             382)   DYSON VACUUM CLEANER MODEL #DC14SL-ANI SERIAL

 6                    #175USD81547;

 7             383)   SPECTRA PRECISION LAZER, ILLUMINUM TRIPOD MODEL #2161;

 8             384)   SIX (6) MAKITA 18V 4 PC CORDLESS COMBO KITS MODEL #LXT401;

 9             385)   HP PHOTOSMART 425 MODEL #Q7070A SERIAL #CN57R2519N;

10             386)   DELPHI SATELLITE RADIO;

11             387)   MICROSOFT OFFICE SOFTWARE STUDENT & TEACHER EDITION

12                    2003;

13             388)   YAMAHA SPEAKER MODEL #S115D SERIAL #11832676;

14             389)   JRX 100 SPEAKER MODEL #JRX118S;

15             390)   YAMAHA SPEAKER MODEL #S115V SERIAL #11834725;

16             391)   JRX 100 SPEAKER MODEL #JRX118S;

17             392)   JBL SPEAKER MODEL #KVLEONM5P-1 SERIAL #15P-123337;

18             393)   JBL SPEAKER MODEL #15P-1-26-214;

19             394)   SONY TV CAMERA, 26620;

20             395)   HUSQVARNA VIKING SEWING MACHINE, 11410979;

21             396)   FUN TV DVD & VCR PLAYER MODEL #FTV050 SERIAL #E11036192;

22             397)   G2G GEAR, MODEL #TKD056 SERIAL #M363 00007;

23             398)   PROFESSIONAL’S CHOICE BACK-SUPPORT BELT;

24             399)   TWENTY FIVE (25) MSD IGNITION COIL GM EXTERNAL PARTS

25                    #8226;

26             400)   TWO (2) MSD IGNITION BLASTERS 2 COILS PART 8202;


                                           75
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 1              401)   TWO (2) MSD IGNITION DISTRIBUTORS COIL GM HEI PART #8225;

 2              402)   NINETEEN (19) EDELBROCK FUEL LINE KITS 8126 CHROMED STEEL;

 3              403)   SIX (6) EDELBROCK 1478 ELECTRIC CHOKE KITS;

 4              404)   TWO (2) PILOT 4 CHANNEL WIRELESS REMOTE SHIFT KNOBS;

 5              405)   FOUR (4) AUTOXRAY INTERFACE CABLES CHRYSLER OBDI / GM

 6                     OBDI / OEDII / FORD OEDI;

 7              406)   LINCOLN ELECTRIC NOZZLE GEL;

 8              407)   BLUE AND BLACK OAKLEY BACKPACK;

 9              408)   FIVE (5) SONY PICTURE PACKAGE SOFTWARES;

10              409)   HUSQVARNA VIKING PROGRAMMABLE CARD 256KB;

11              410)   AQUA STAR TANKLESS GAS WATER HEATER MODEL 250SX0;

12              411)   THREE (3) AQUA STAR TANKLESS GAS WATER HEATERS MODEL

13                     250SX LP;

14              412)   WILSON JONES LAMINATOR MODEL #LV340HS;

15              413)   PREN-TRONIC BATTERY CHARGER REFERENCE #56264050AE; and

16              414)   PANASONIC PORTABLE PHONE MODEL #KX-TG5433M.

17        (k)   THE CONTENTS OF THE RESIDENCE AT 6706 PYRACANTHA GLEN COURT,

18              LAS VEGAS, NEVADA:

19              1)     CREATIVE TRAVEL STATION SERIAL #CAMF50104750015620;

20              2)     DEWALT COMPACT DRILL;

21              3)     WALTHER .177 CALIBER PELLET GUN SERIAL #J44571475;

22              4)     SONY MAVICA CAMERA SERIAL #228357;

23              5)     GARMIN GPS UNIT;

24              6)     JVC MINI DV CAMERA WITH CHARGER AND SPARE BATTERY

25                     SERIAL #060X5863;

26              7)     CANON DIGITAL CAMERA WITH CASE SERIAL #4851600859;


                                            76
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 1             8)    DELL MONITOR SERIAL #MX02Y3114760544DDX9X;

 2             9)    DELL MONITOR SERIAL #MX02Y311476053BIALL7;

 3             10)   YELLOW TBALL DYSON VACUUM CLEANER;

 4             11)   FIVE (5) 3.5 INCH FLOPPY DISKS;

 5             12)   $1,026.00 IN UNITED STATES CURRENCY;

 6             13)   MOTOROLA I530 CELL PHONE SERIAL #364BDY604W;

 7             14)   NEXTEL BLACKBERRY 7520 SERIAL #400C4139;

 8             15)   HP IPAQ SERIAL #TWC4400TK1;

 9             16)   WESTERN     DIGITAL    EXTERNAL       HARD     DRIVE     SERIAL

10                   #WXEY04032292;

11             17)   WESTERN     DIGITAL        EXTERNAL     HARD     DRIVE       SERIAL

12                   #WXE505246737;

13             18)   ANT NIGHT VISION NZT-625;

14             19)   ACTRON AUTO SCANNER MODEL #CP9135;

15             20)   SIRIUS STAR MATE SATELLITE RADIO RECEIVER;

16             21)   SONY HANDICAM CAMCORDER MODEL# DCRDVD101;

17             22)   IPAQ PDA SERIAL #TWG43103PT;

18             23)   GARMIN STREET PILOT 2720 GPS SYSTEM;

19             24)   GOLDLINE CONTROLS VALVE ACTUATOR;

20             25)   JANDY POWER CENTER;

21             26)   JANTEK CONTROL PAD SERIAL #K255300021;

22             27)   PORTER CABLE LOCK-BORING JIG;

23             28)   WHITES ELECTRONICS XLT METAL DETECTOR;

24             29)   GOLDLINE CONTROLS SMARTPURE SANITIZER CONTROL BOX;

25             30)   ORAL-B TRIUMPH ELECTRIC TOOTHBRUSH;

26   ...


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 1             31)   NAGRA     DIGITAL   RECORDER      MODEL     #ARES-M        SERIAL

 2                   #2070001A0515;

 3             32)   SAMSUNG DIRECT TV RECEIVER MODEL SIR-TS360;

 4             33)   ROLAND KEYBOARD PHANTOM X8;

 5             34)   SONY HANDICAM CAMCORDER MODEL #DCR-HC26;

 6             35)   UNIVERSAL WALKWAY TESTER MODEL# BOT3000;

 7             36)   MOBI WIRELESS CAMERA MOBICAM 2.4GHZ;

 8             37)   TWO (2) JANDY VALVE ACTUATORS JVA-2444;

 9             38)   DELL FLOPPY DISK DRIVE SERIAL #PH009YXE445720C8EURN;

10             39)   PANASONIC MICROCASSETTE TRANSCRIBER MODEL RR930;

11             40)   SEAGATE BARACUDA HARD DRIVE 400GB SERIAL #3NF04LLQ;

12             41)   TWO (2) FARENHEIT WIRELESS INFRARED STEREO HEADPHONES

13                   MODEL# WLHP-1X;

14             42)   ORECK XL21 VACUUM CLEANER SERIAL #700ECBXS101338-3;

15             43)   ORECK XL-21 VACUUM CLEANER SERIAL #700ECPXS002334-3;

16             44)   HOOVER VACUUM CLEANER DUBL-DUTY 1400 SERIAL #06083;

17             45)   PORTADRIVE PDR2000 SERIAL #10153;

18             46)   TWO (2) JANDY SPA SIDE SWITCHES MODEL# 7443;

19             47)   ORECK HOUSEKEEPER COMPACT CANISTER VACUUM CLEANER;

20             48)   TWO (2) JANDY SPA SIDE REMOTES SS4100W;

21             49)   JANDY REMOTE FOUR FUNCTION MODEL #520092;

22             50)   BADGER AIRBRUSH MODEL 150 IN WOODEN BOX;

23             51)   TWO (2) STARBUCKS BARISTA ESPRESSO MACHINES MODEL#

24                   142117;

25             52)   IROBOT ROOMBA SCHEDULER AUTOMATIC VACUUM;

26             53)   THREE (3) NFL JERSEYS;


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 1             54)   TOTEVISION LCD COLOR MONITOR MODEL# LCD64O;

 2             55)   FOODSAVER VACUUM SEALER MODEL# V825;

 3             56)   PEAVEY AMPLIFIER MODEL# TRANSFORMER112 SERIAL #11223292;

 4             57)   TWO (2) JANDY AQUALINK RS POOL DIGITAL ASSISTANTS;

 5             58)   TWO (2) JANDY AQUAPURE MODEL #APURE1400 WATER

 6                   PURIFIERS;

 7             59)   GENERAL ELECTRIC PAN-TILT CONTROLLER PART #A0006A326;

 8             60)   ACTRON AUTO SCANNER MODEL #P9135;

 9             61)   BADGER WHIRLWIND2 MODEL 80-2 AIR PUMP;

10             62)   NIKOTA 1200W POWER INVERTER;

11             63)   JANDY POOL DIGITAL ASSISTANT 8261;

12             64)   NIGHT VISION GOGGLES AMVIS IN GREEN BAG SERIAL #7000;

13             65)   JURO CAPRESSO AUTOMATIC COFFEE CENTER;

14             66)   YELLOW WORK LIGHT STAND WITH 2 LIGHTS;

15             68)   DEVINCI BICYCLE 10 SPEED DISASSEMBLED;

16             69)   QUICKBOOKS POINT OF SALE SOLUTION FOR RETAILERS CASH

17                   REGISTER;

18             70)   APPLE IPOD 20GB SERIAL #4J50456ZP59;

19             71)   APPLE IPOD 30GB SERIAL #2CD5170F1U;

20             72)   APPLE IPOD LOGE SERIAL #4US068QESAZ;

21             73)   APPLE IPOD NANO 2GB SERIAL #7K553MH0TJT;

22             74)   VERTU CELL PHONE SERIAL #P-002456;

23             75)   DELL LATITUDE LAPTOP C-400 SERIAL #9R226-A00;

24             76)   DELL OPTIPLEX GX11O DESKTOP COMPUTER SERIAL #H8Z0401;

25             77)   COMPAQ PRESARIO 6000 CPU TOWER SERIAL #MX30632938;

26             78)   COMPAQ PRESARIO CPU TOWER SR1319RS SERIAL #MXK4500M99;


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 1             79)    SONY VAIO PCV-RZ40C1B TOWER PCU SERIAL #3004772;

 2             80)    GENERIC CPU TOWER - BEIGE, NO SERIAL NUMBER;

 3             81)    APPLE IMAC SERIAL #YM0167CJJ88;

 4             82)    SONY VAIO MODEL PCV-F211 SERIAL #3001634;

 5             83)    DELL POWEREDGE 2400 CPU SERIAL #5NPJ101;

 6             84)    DELL POWEREDGE 2300 CPU SERIAL #6I53J;

 7             85)    DELL POWEREDGE 1400 CPU SERIAL #19QSN01;

 8             86)    SENCORE VSB PLAYER HDTV 996 IN BLACK PELICAN CASE;

 9             87)    MAYTAG NEPTUNE DRYING CENTER;

10             89)    IMAGE 7.8 EXERCISE EQUIPMENT;

11             90)    VERSA CLIMBER MODEL #CL-108H SERIAL #1631;

12             91)    BREITLING 1884 MEN’S WATCH;

13             94)    LYNX PROSEAR BAR-B-QUE UNIT;

14             95)    THE SHARPER IMAGE 22 PC STAINLESS STEEL GRILL SET IN CASE;

15             96)    THREE (3) PIECE SOFA SET;

16             97)    WOODEN END TABLE;

17             98)    WOODEN COFFEE TABLE;

18             100)   MITSUBISHI TV 1080;

19             101)   WHITE VASE WITH STAND;

20             102)   NAKAMICHI DVD & CD PLAYER SERIAL #D21101596;

21             103)   PHILLIPS PERSONAL VIDEO RECORDER #44899637;

22             106)   THREE (3) ORNAMENTAL CANDLESTICKS;

23             107)   ORIENTAL STYLE ORNAMENT;

24             108)   ZATHLETIC VAULTING BAR W/GYM MATS;

25             110)   BATH & BODY WORKS BAG;

26             111)   SEVEN (7) VARIOUS STYLES LOUIS VUITTON HANDBAGS;


                                            80
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 1             112)   ONE LOUIS VUITTON WALLET;

 2             113)   COACH HANDBAG W/MATCHING WALLET;

 3             114)   ONE BROWN LEATHER HANDBAG;

 4             115)   ONE COACH HANDBAG;

 5             116)   ONE DOONEY BOURKE HANDBAG SKU 3884334469;

 6             117)   ONE COACH HANDBAG & MATCHING WALLET IN DUST COVER;

 7             118)   ONE ACCUTRON BULOVA MEN’S WATCH IN A BLACK LEATHER

 8                    ACCUTRON BOX;

 9             119)   ONE COACH HANDBAG W/DUST COVER W/TAGS;

10             120)   ONE COACH HANDBAG IN DUSTCOVER;

11             121)   ONE COACH HANDBAG REDDISH & BROWN IN DUST COVER;

12             122)   MENS CITIZEN WATCH;

13             124)   TWO (2) ORNATE WALL MIRRORS;

14             125)   TWO (2) ORNATE DESK CLOCKS;

15             126)   ONE OF TWO (2) ARMOIRES;

16             131)   MASSAGER;

17             132)   PANASONIC FLAT SCREEN WALL TV MODEL #VIARA MOUNTED TO

18                    WALL;

19             133)   SONY DVD PLAYER MODEL #HCDC4S0 SERIAL #8399161;

20             134)   TIVO DIGITAL VIDEO RECORDER MODEL #TCD540040 W/ REMOTE;

21             135)   NORDIC TRACK EXP 1000X;

22             136)   COLUMN STAND WITH PLANT;

23             137)   DVR 460 MODEL #HSDVR042 W/REMOTE CONTROL;

24             138)   SAMSUNG COLOR OBSERVATION MONITOR SERIAL #69VW102483;

25             139)   FOUR (4) SONY SPEAKERS MODEL #SSTS502;

26   ...


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 1             140)   TWO (2) BOXES OF SAMSUNG ELECTRONICS SECURITY CLOSED

 2                    CIRCUIT TV HOUSINGS;

 3             141)   SONY BASS REFLEX SUB WOOFER MODEL #4SS-WS502 SERIAL

 4                    #8418430;

 5             142)   SAMSUNG CC TV HOUSING CONTAINING A CAMERA SERIAL

 6                    #200301 62ZW102411P;

 7             143)   THREE (3) FRAMED PICTURES (FLOWERS);

 8             144)   PLAYSTATION 2 GAME (KILLZONE);

 9             145)   PLAYSTATION 2 GAME (STREET);

10             146)   PANASONIC TV REMOTE CONTROL;

11             147)   GAME MAKER KENO PLUS VIDEO GAMING MACHINE;

12             148)   THREE PIECE LIVING ROOM SET YELLOW IN COLOR;

13             150)   STANDING LAMP;

14             151)   FRAMED PICASSO STYLE PAINTING;

15             152)   TWO (2) LEATHER ROLLING OFFICE CHAIRS;

16             154)   SONY CYBERSHOT CAMERA SERIAL #1554959;

17             155)   BROTHER MFC 9700 MULTIFUNCTIONAL UNIT SERIAL #

18                    U60073D2J32218;

19             156)   RED LEATHER JEWELRY BOX;

20             157)   GENT’S ELGIN STAINLESS STEEL WATCH SERIAL #FSS479-007;

21             158)   IMITATION GUCCI WOMEN’S WATCH;

22             159)   FOSSIL WOMEN’S WATCH AM-3049;

23             160)   ‘I LOVE LUCY’ WATCH;

24             161)   TIMEX INDIGLO WATCH;

25             162)   COCA COLA DOG WATCH;

26             163)   LORUS ‘MICKEY MOUSE’ WATCH;


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 1             164)   NINE (9) COSTUME JEWELRY BRACELETS;

 2             165)   ET WATCH;

 3             166)   FIVE (5) SETS OF COSTUME JEWELRY EARRINGS;

 4             167)   COSTUME JEWELRY NECKLACE WITH PURPLE STONES;

 5             168)   SINGLE GOLD AND DIAMOND EARRINGS;

 6             169)   STERLING SILVER BAR WITH UNKNOWN STONE;

 7             170)   FOUR OF FIVE (5) COSTUME JEWELRY PENDANTS;

 8             171)   14KT WHITE GOLD STUD EARRINGS WITH ROUND BRILLIANT

 9                    DIAMONDS;

10             172)   IMITATION SET OF WHITE PEARL EARRINGS;

11             173)   IMITATION SET OF PINK PEARL EARRINGS;

12             174)   IMITATION SET OF PINK DIAMOND SQUARE CUT EARRINGS;

13             176)   IMITATION SET OF TIFFANY SILVER CIRCLE EARRINGS;

14             177)   FOUR (4) COSTUME JEWELRY RINGS;

15             178)   SILVER MEN’S RING;

16             182)   LADY’S 14KT YELLOW GOLD RING WITH SEVEN MARQUISE

17                    SHAPED BRILLIANT DIAMONDS;

18             183)   LADY’S 10KT YELLOW GOLD SOLITAIRE RING WITH ROUND

19                    FACETED WHITE SAPPHIRE;

20             184)   14KT YELLOW GOLD WEDDING BAND WITH CARVED DESIGNS;

21             185)   LADY’S 14KT YELLOW GOLD WEDDING RING;

22             187)   LADY’S 14KT WHITE GOLD LINK BRACELET BEAD SET WITH

23                    TWELVE ROUND BRILLIANT DIAMONDS IN A SQUARE LINK

24                    PATTERN;

25   ...

26   ...


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 1             188)   STERLING SILVER TIFFANY & COMPANY MULTI-STRAND

 2                    BRACELET WITH OPEN HEART AND TOGGLE AND CIRCLE CLASP

 3                    ENDS;

 4             189)   STERLING SILVER TIFFANY & COMPANY LARGE CABLE LINK

 5                    BRACELET WITH WIDE HEART SOLDERED ON ONE END;

 6   ...

 7             190)   STERLING SILVER TIFFANY & COMPANY LARGE CABLE LINK

 8                    NECKLACE HAVING A TOGGLE AND CLASP WITH HEART

 9                    PENDANT;

10             191)   STERLING SILVER TIFFANY & COMPANY 18" LONG SNAKE CHAIN

11                    NECKLACE WITH RECTANGULAR PENDANT;

12             192)   IMITATION SILVER NECKLACE WITH CIRCULAR PENDANT;

13             193)   10KT YELLOW GOLD HEART SHAPED PENDANT AND CHAIN WITH

14                    TWENTY ROUND SINGLE CUT DIAMONDS;

15             194)   IMITATION STRING OF PEARLS;

16             195)   SILVER NECKLACE WITH PINK PEARLS AND PINK DIAMONDS;

17             196)   STERLING SILVER CHAIN WITH PENDANT SET WITH ONE

18                    CULTURED SILVER-BLUE PEARL;

19             197)   SILVER NECKLACE WITH SEVERAL WHITE PEARLS;

20             198)   GREEN SOFT CASE;

21             199)   BLACK PLASTIC JEWELRY CASE;

22             200)   BAGGIE CONTAINING WATCH LINKS;

23             201)   SINGLE GOLD HOOP EARRING;

24             202)   MEN’S GOLD LINK NECKLACE;

25             203)   MEN’S WHITE GOLD 14K LINK NECKLACE;

26   ...


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 1        (l)   2005   CHRYSLER     300,   NEVADA   LICENSE       PLATE   1BAD300,   VIN

 2              2C3JA53G45H551790;

 3        (m)   ITEMS LISTED IN SUPPLEMENTAL BILL OF PARTICULARS:

 4              1)     COBRA MICROTALK RADIO;

 5              2)     MYVOICE DIGITAL RECORDER;

 6              3)     XBOX VIDEO GAME-BLACK;

 7              4)     XEROX FLATSCREEN COMPUTER MONITOR SERIAL #E98Z5912962U;

 8              5)     LG 32" FLATSCREEN TV SERIAL #412KGXA29226;

 9              6)     HP PDA WITH CHARGER, SERIAL #X11-15454;

10              7)     OLIVIA FLATSCREEN TV SERIAL #VACD15341368;

11              8)     HP PDA;

12              9)     SONY HANDYCAM SERIAL NUMBER 228451;

13              10)    HARDRIVE MPIO SERIAL NUMBER CPHS1C02945;

14              11)    COMPAQ LAPTOP COMPUTER SERIAL NUMBER SCNF6150JBZ;

15              12)    TOSHIBA LAPTOP COMPUTER SERIAL NUMBER 56073080Q;

16              13)    SAWED OFF REMINGTON .22 RIFLE, SERIAL NUMBER 2615353;

17              14)    POLAROID CPU, MODEL FLM-1511;

18              15)    FLAT PANEL WALL MOUNT UNIT;

19              16)    KID TOUGH FP3 PLAYER;

20              17)    KID TOUGH DIGITAL CAMERA;

21              18)    FIVE (5) XBOX 360 WIRELESS HEADSETS;

22              19)    FOUR (4) PS2 GAME CONTROLLERS;

23              20)    THREE (3) XBOX 360 FACEPLATES;

24              21)    REAM OF HP PRINT PAPER;

25              22)    FAST TRACK USB SOFTWARE;

26              23)    MONSTER XBOX 360 GAME CABLES;


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 1              24)   XBOX 360 GAME SYSTEM WITH STEERING WHEEL;

 2              25)   PS2 CONTROLLER;

 3              26)   TABLECLOTH;

 4              27)   EIGHT (8) PS3 GAMES IN CASES;

 5              28)   FIVE (5) PS3 GAME CASES, NO GAMES;

 6              29)   SIX (6) XBOX 360, GAMES IN CASES;

 7              30)   SIX (6) XBOX 360 GAME CASES, NO GAME;

 8              31)   TWO (2) PLAYSTATION 2 GAMES IN CASES;

 9              32)   NINTENDO DS GAME CASE, NO GAME;

10              33)   BLACK NYLON CASE WITH BATTERY AND PSP DEVICE;

11              34)   TWELVE (12) PSP GAMES IN CASES;

12              35)   ELEVEN (11) PSP GAME CASES, NO GAMES;

13              36)   USB CABLE;

14              37)   TWO (2) FIREWIRE CABLES;

15              38)   RCA JACKS;

16              39)   PC VIDEO GAME;

17              40)   EIGHTEEN (18) DVD MOVIES;

18              41)   ADAPTOR CABLE;

19              42)   THREE (3) CDRS;

20              43)   PSP GAME CONSOLE;

21              44)   COSTUME JEWELRY RING;

22        (o)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT ROBERT

23              YOUNG:

24              1)    COMPAQ LAPTOP SERIAL #CNF62918LS;

25              2)    PAPER TRIMMER;

26              3)    LAMINATES;


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 1              4)    HP PHOTOSMART CAMERA IN CASE SERIAL #CN654Y62FQ9L2063A;

 2              5)    LEXAR MEMORY STICK; and

 3              6)    HARD DRIVE IN SILVER CASE.

 4        (p)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT JOSEPH

 5              PLEICHNER:

 6              1)    2005 BLUE KIA SPECTRA, NEVADA LICENSE PLATE 2FLME, VIN

 7                    KNAFE122555188618;

 8              2)    HP SCANJET 3550 WITH PRINTER STAND W/PAPER SERIAL #Q5990A;

 9              3)    BLACK LEATHER CASE CONTAINING 5 MEMORY CARDS;

10              4)    THUMBDRIVE SERIAL #JDSE256-00-500F;

11              5)    WESTERN DIGITAL HARDRIVE SERIAL #WCAL97668502;

12              6)    TOSHIBA NOTEBOOK W/MOUSE;

13              7)    SHARK DESKTOP;

14              8)    HP LASERJET PRINTER SERIAL #USLD083011;

15              9)    SONY COMPUTER MONITOR SERIAL #6398314;

16              10)   COMPAQ PRESARIO LAPTOP SERIAL #CNF54200DN;

17              11)   FISKAR PAPER CUTTER;

18              12)   EMACHINE COMPUTER SERIAL #GRS5A10003726;

19              13)   SONY VAIO DESKTOP COMPUTER SERIAL #3005833;

20              14)   CENTURION DESKTOP;

21              15)   EMACHINE DESKTOP SERIAL #CA13B10003793;

22              16)   HP OFFICE JET 2410 SCANNER/PRINTER SERIAL #MY574N72B5; and

23              17)   EPSON PRINTER;

24        (q)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANTS RONALD

25              BUCCANERO AND BEVERLY FREDACK:

26              1)    SAMSUNG T-MOBILE CELL PHONE SERIAL #RVIA271805L;


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 1              2)    HP PAVILION CPU TOWER SERIAL #US00805898;

 2              3)    WESTERN DIGITAL HARD DRIVE SERIAL #WD1600JB-00REA0;

 3              4)    QUANTUM HARD DRIVE SERIAL #TM21A011;

 4              5)    UNIDEN CELL PHONE POWERMAX 5.8 SERIAL #742B0205;

 5              6)    MOTOROLA CELL PHONE SERIAL #SWF0466GH5040F1A11S;

 6              7)    EMACHINES W3118 COMPUTER TOWER SERIAL #CCA64M0030191;

 7              8)    CONNOR HARD DRIVE SERIAL #CJCE8K1;

 8              9)    WESTERN DIGITAL HARD DRIVE SERIAL #WM3361386556;

 9              10)   MAXTOR HARD DRIVE SERIAL #B16C9XDE;

10              11)   CONNOR HARD DRIVE SERIAL #BMBHGMY; and

11              12)   FUJITSU HARD DRIVE SERIAL #08112966.

12        (r)   ITEMS FROM THE CRIMINAL INFORMATION FOR DEFENDANTS CAROLYN

13              RUSSELL AND CHAD PRICE:

14              1)    MOTOROLA CELLPHONE SERIAL #SJUG1154GB;

15              2)    GATEWAY LAPTOP SERIAL #N636101064061;

16              3)    VAIO LAPTOP SERIAL #C3LLXJT9;

17              4)    DELL CPU TOWER SERIAL #Z6WLD61;

18              5)    SONY VAIO CPU TOWER SERIAL #3026426;

19              6)    HP PSC MODEL NO. 1350 SERIAL #MY3A3BH1DK;

20              7)    ELTRON E310 PRINTER SERIAL #E247931;

21              8)    SONY CYBERSHOT DIGITAL CAMERA SERIAL #865087;

22              9)    T-MOBILE CELL PHONE SERIAL #HT608ES03925B;

23              10)   HP LASERJET MODEL #1022 SERIAL #CNBC5BZ36S;

24              11)   HP PAVILION CPU SERIAL #MX95460G64;

25              12)   COMPAQ LAPTOP W/OPTICAL MOUSE SERIAL #CNF6010PT4;

26              13)   HP 460 DESKJET PRINTER SERIAL #MY633450ZV;


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 1               14)   CD MEDIA; and

 2               15)   LOGITECH THUMBDRIVE.

 3         (s)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT CAROLYN

 4               RUSSELL:

 5               1)    SAMSUNG MONITOR, SERIAL #BR20HCHYA01227E, LOCATED

 6                     INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA;

 7               2)    TWO (2) BROWN LEATHER COUCHES, LOCATED INSIDE OF 9538

 8                     CROWN PINES COURT, LAS VEGAS, NEVADA;

 9               3)    SAMSUNG FLAT PANEL TELEVISION SERIAL #AB233CCY904662H,

10                     LOCATED INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS,

11                     NEVADA;

12               4)    SAMSUNG TELEVISION SERIAL #AB7231HY60075713, LOCATED

13                     INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA;

14               5)    SONY TELEVISION SERIAL #7052664, LOCATED INSIDE OF 9538

15                     CROWN PINES COURT, LAS VEGAS, NEVADA;

16               6)    BOSE WAVE RADIO SERIAL #033975L51716752AC, LOCATED INSIDE

17                     OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA;

18               7)    THREE GREEN LEATHER COUCHES LOCATED INSIDE OF 9538

19                     CROWN PINES COURT, LAS VEGAS, NEVADA;

20               8)    FOUR GREEN LEATHER COUCHES LOCATED INSIDE OF 9538

21                     CROWN PINES COURT, LAS VEGAS, NEVADA;

22               9)    SAMSUNG MULTI-CD PLAYER SERIAL #10CY8065917, LOCATED

23                     INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA;

24               10)   ONE ENTERTAINMENT CENTER LOCATED INSIDE OF 9538 CROWN

25                     PINES COURT, LAS VEGAS, NEVADA;

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 1              11)   THREE PIECES OF BROWN WOOD FURNITURE DESK SET LOCATED

 2                    INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA;

 3              12)   ONE WOODEN KITCHEN TABLE WITH FOUR CHAIRS AND A BENCH

 4                    LOCATED INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS,

 5                    NEVADA;

 6              13)   SINGER SEWING MACHINE SERIAL #153A444605472, LOCATED

 7                    INSIDE OF 9538 CROWN PINES COURT, LAS VEGAS, NEVADA

 8              14)   TAG HEUER WOMEN'S WATCH SERIAL #4470;

 9              15)   TIFFANY AND COMPANY SILVER NECKLACE;

10              16)   ZALES DIAMOND RING;

11              17)   TIFFANY AND COMPANY PLATINUM AND DIAMOND RING; AND

12                    18)     AUTOGRAPHED MICHAEL JORDAN SLAM DUNK POSTER #80

13                            OF 323

14        (t)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT JULIE

15              JURKOFSKY:

16              1)    ELTRON PRINTER SERIAL #E253599;

17              2)    TWO (2) CELL PHONES;

18              3)    TOSHIBA LAPTOP COMPUTER SERIAL #56086306Q;

19              4)    PRINTER P/S/C 1510 S/N Q5880A, OPTICAL MOUSE, WIRELESS

20                    KEYBOARD S/N 7570900347943, EMACHINE DESKTOP COMPUTER

21                    S/N CCA63J0018441, MISC CORDS AND CABLES;

22              5)    DIGITAL CONCEPTS CAMERA SERIAL #CF050388806 AND NIKON

23                    E4100 S/N 3656831;

24              6)    FLOPPY DRIVE S/N FDUSB-TM2;

25              7)    SAMSUNG DIGITAL CAMCORDER SERIAL #Y6776VKYA01400Z;

26              8)    WIRELESS NETWORK CARD SERIAL #630293114661;


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 1              9)    REMINGTON .22 CALIBER RIFLE MODEL 597 SERIAL #2615353;

 2              10)   SANYO CELL PHONE;

 3              11)   TOSHIBA LAPTOP CPU SERIAL #Y5215698K;

 4              12)   DYNABOOK LAPTOP SERIAL #21042266J;

 5              13)   COMPAQ DESKTOP SERIAL #MD1306551301;

 6              14)   EMACHINES DESKTOP CPU SERIAL #CRX5520011925;

 7              15)   BALANCE DESKTOP CPU SERIAL #CP4401;

 8              16)   TOSHIBA LAPTOP SERIAL #16076389Q;

 9              17)   LINKSYS CABLE MODEM SERIAL #KBG30EA47579; and

10              18)   AUDIOVOX CELLPHONE SERIAL #04B189D0.

11        (u)   ITEMS FROM THE CRIMINAL INFORMATION FOR DEFENDANT JUSTIN

12              SAWYER:

13              1)    A REMINGTON .22 CALIBER RIFLE MODEL 597 SERIAL #2615353.

14        (v)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT JUSTIN

15              SAWYER:

16              1)    HARD DRIVE MPIO SERIAL #CPHS1C02945;

17              2)    COMPAQ LAPTOP COMPUTER SERIAL #SCNF6150JBZ;

18              3)    TOSHIBA LAPTOP COMPUTER SERIAL #56073080Q; and

19              4)    A REMINGTON .22 CALIBER RIFLE MODEL 597 SERIAL #2615353.

20        (w)   PURSUANT TO THE PLEA AGREEMENT FOR DEFENDANT TOMMY

21              MUCKLOW:

22              1)    QUANTUM HARD DRIVE SERIAL #872000245528;

23              2)    TRIGM HARD DRIVE SERIAL #0189J1FN2121000;

24              3)    BLACK NYLON COMPUTER BAG;

25              4)    MOTOROLA I860 CELLULAR TELEPHONE SERIAL #364YFJF05V;

26              5)    KODAK EASYSHARE DIGITAL CAMERA SERIAL #KCTEJ53620070;


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 1                  6)      COMPAQ LAPTOP SERIAL #CNF5520GKW;

 2                  7)      KYOCERA CELLULAR TELEPHONE SERIAL #37CE3A4A;

 3                  8)      MISCELLANEOUS CORDS AND POWER CABLES;

 4                  9)      TARGUS COMPUTER MOUSE.

 5           (x)    $2,526.00 IN UNITED STATES CURRENCY FOR DEFENDANT JASON ZIGA;

 6           (y)    $4,044.00 IN UNITED STATES CURRENCY FOR DEFENDANT DAVID

 7                  KALLAO;

 8           (z)    $6,919.00 IN UNITED STATES CURRENCY FOR DEFENDANTS SHARON

 9                  SIMON AND MICHAEL PUGLIESE;

10           (aa)   $5,638.00 IN UNITED STATES CURRENCY FOR DEFENDANTS TOMMY

11                  MUCKLOW, DANE KEISER, JUSTIN SAWYER, and JULIE JURKOFSKY;

12           (bb) $625.00 IN UNITED STATES CURRENCY FOR DEFENDANTS NATHAN

13                  RIVERO, ED MIZE, JOHNNY MIZE, and CHRISTIE WEST.

14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

15   funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as

16   any income derived as a result of the United States of America’s management of any property forfeited

17   herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

18           The Clerk is hereby directed to send copies of this Order to all counsel of record and three

19   certified copies to the United States Attorney’s Office.

20           DATED this _________ day of _______________, 2011.

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                                                    UNITED STATES DISTRICT JUDGE
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